Case 23-18993-MBK              Doc 37      Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                          Document     Page 1 of 89


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    Debtors in Possession


                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


In re:                                                        Chapter 11

RITE AID CORPORATION, et al.,                                 Case No. 23-18993 (MBK)

                                     Debtors. 1               (Joint Administration Requested)



                            DEBTORS’ MOTION FOR
                     ENTRY OF INTERIM AND FINAL ORDERS
            (I) AUTHORIZING AND APPROVING THE CONDUCT OF STORE
       CLOSING SALES, WITH SUCH SALES TO BE FREE AND CLEAR OF ALL
    LIENS, CLAIMS, AND ENCUMBRANCES, AND (II) GRANTING RELATED RELIEF

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:




1
      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
      Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
      The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
      these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
Case 23-18993-MBK             Doc 37      Filed 10/16/23 Entered 10/16/23 03:31:27                        Desc Main
                                         Document     Page 2 of 89



        The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion (this “Motion”): 2

                                                Relief Requested

                 The Debtors seek entry of orders, substantially in the forms attached hereto as

Exhibit A and Exhibit B (respectively, the “Interim Order” and “Final Order”): (a) authorizing

and approving the continuation or initiation of store closing or similar themed sales (the “Initial

Store Closings”) at the stores identified on Schedule 1 to Exhibit A (collectively, the “Initial

Closing Stores”); (b) authorizing and approving the Debtors to conduct store closings at additional

stores (the “Additional Store Closings” and, together with the Initial Store Closings,

the “Store Closings”) at a later date or dates pursuant to the procedures set forth herein

(collectively, the “Additional Closing Stores,” if any, and together with the Initial Closing Stores,

the “Closing Stores”), with all such sales to be free and clear of all liens, claims, and encumbrances

(the “Sales”), in accordance with the terms of the store closing sale guidelines

(the “Sale Guidelines”), attached as Schedule 2 to Exhibit A; and (c) granting related relief. In

addition, the Debtors request that the Court schedule a final hearing within approximately 30 days

after the commencement of these chapter 11 cases to consider entry of the Final Order.

                 In support of this Motion, the Debtors respectfully submit (a) the Declaration of

Marc Liebman in Support of Debtors’ Motion for Entry of Interim and Final Orders

(I) Authorizing and Approving the Conduct of Store Closing Sales, With Such Sales to Be Free and

Clear of All Liens, Claims, and Encumbrances, and (II) Granting Related Relief



2
    A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
    the Debtors’ chapter 11 cases, is set forth in the Declaration of Jeffrey S. Stein in Support of Debtors’ Chapter 11
    Petitions    and     First    Day       Motions      (the “First Day Declaration”),      filed    contemporaneously
    herewith. Capitalized terms used but not defined in this motion have the meanings ascribed to them in the First
    Day Declaration.


                                                          2
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                   Document     Page 3 of 89



(the “Liebman Declaration”) and (b) the Declaration of Elise S. Frejka in Support of Debtors’

Motions for Entry of Orders (I) Approving Bidding Procedures and Related Relief and

(II) Authorizing and Approving the Conduct of Store Closing Sales, With Such Sales to Be Free

and Clear of All Liens, Claims, and Encumbrances and Related Relief (the “Frejka Declaration”),

each filed contemporaneously herewith.

                                     Jurisdiction and Venue

               The United States Bankruptcy Court for the District of New Jersey (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of

Reference to the Bankruptcy Court Under Title 11, entered July 23, 1984, and amended on

September 18, 2012 (Simandle, C.J.). The Debtors confirm their consent to the Court entering a

final order in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

               Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

               The bases for the relief requested herein are sections 105, 363, 365, and 554 of

title 11 of the United States Code (the “Bankruptcy Code”), rules 2002, 6003, and 6004 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 9013-2 and 9013-5 of

the Local Rules of the United States Bankruptcy Court for the District of New Jersey (the “Local

Rules”).

                                           Background

               The Debtors, together with their non-Debtor affiliates (collectively, “Rite Aid” or

the “Company”), are on the front lines of delivering healthcare services and retail products to

millions of Americans daily. Founded in 1962 with a single discount drugstore in Scranton,

Pennsylvania, Rite Aid—and its over 45,000 employees—meet the fundamental consumer need

                                                 3
Case 23-18993-MBK        Doc 37    Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                  Document     Page 4 of 89



for pharmacy services across the country through two divisions. On the retail side, Rite Aid

employs more than 6,100 pharmacists and operates more than 2,100 retail pharmacy locations in

17 states. Through Elixir, the Company manages pharmacy benefits for more than one million

members via accredited mail and specialty pharmacies, prescription discount programs, and an

industry-leading claim adjudication platform. Headquartered in Philadelphia, Pennsylvania, Rite

Aid Corporation is publicly held with its common stock trading on the New York Stock Exchange

under the trading symbol, “RAD.”

               On October 15, 2023 (the “Petition Date”), each Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their business and

managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. Concurrent with the filing of this Motion, the Debtors filed a motion requesting

procedural consolidation and joint administration of these chapter 11 cases. No request for the

appointment of a trustee or examiner has been made in these chapter 11 cases, and no official

committees have been appointed or designated.

I.     The Store Closings.

               As discussed in the First Day Declaration, the Debtors have worked tirelessly to

build stakeholder consensus around a value-maximizing restructuring of the Company.

The Debtors’ efforts on this front yielded agreement in principle on restructuring terms among the

Company and certain of its key creditor constituencies. A key component of the Company’s

go-forward business plan—and the value-maximizing restructuring of the Debtors contemplated

by the agreement in principle to be memorialized by the Restructuring Support Agreement—is the

continuation and completion of the Debtors’ ongoing multi-year effort to rationalize their retail

pharmacy store footprint.    This effort entails, among other things, the closure of certain

underperforming stores (based on a comprehensive cost-benefit analysis).
                                                4
Case 23-18993-MBK          Doc 37    Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                    Document     Page 5 of 89



                 The Company’s store portfolio rationalization process has been ongoing for several

years and has accelerated in recent months in connection with the Company’s broader restructuring

efforts. During the twelve-month period ending on September 30, 2023, the Debtors closed

approximately 210 stores, leaving the Debtors with approximately 2,100 operating stores as of the

Petition Date.

                 The Debtors’ meticulous, thoroughly considered store closure plan is centered on

value maximization and an asset disposition strategy based on proceeds realizable through the sale

or internal transfer of prescription files and related records (collectively, the “Prescription

Assets”), store inventory, including front-end retail inventory (collectively, “Inventory”), and store

fixtures, furniture, and equipment (collectively, “FF&E,” and together with Inventory,

“Non-Prescription Assets”). Before the Petition Date, the Debtors, with the assistance of their

advisors, conducted a comprehensive analysis of the Debtors’ store portfolio, financial

performance, and market geography to identify unprofitable, underperforming, or otherwise sub-

optimal store locations. Once identified, the Debtors determined the best strategy to maximize

proceeds from the closure process for each location. With respect to Inventory, the Debtors’

strategy for maximizing store proceeds consists of either (i) conducting a self-managed strategic

mark-down plan followed by a clearance sale; and/or (ii) transferring Inventory to other Company

store locations that would remain open. With respect to Prescription Assets, the Debtors’ strategy

consists of either (i) transferring (or “pouring”) Prescription Assets to nearby Company store

locations that would remain open, or (ii) selling Prescription Assets to another (non-Rite Aid)

pharmacy.

                 After the completion of these asset dispositions, the Debtors would then vacate the

closing store location and address the applicable lease as deemed appropriate by the Debtors in



                                                  5
Case 23-18993-MBK              Doc 37      Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                          Document     Page 6 of 89



their business judgment. With respect to the Closing Stores and any leased stores vacated

prepetition, the Debtors anticipate that they will either reject the applicable leases or assume and

assign them to one or more third-party buyers, consistent with their business judgment. 3

                   This Motion essentially seeks authority for the Debtors to continue their prepetition

store closure process, including through conducting Sales (including Sales of Prescription Assets)

pursuant to the proposed Interim and Final Orders and the Sale Guidelines incorporated therein.

As of the filing of this Motion, the Debtors expect to proceed with the Initial Store Closings in the

near-term. In light of the Debtors’ ongoing store portfolio rationalization analysis, the Debtors

request authority to conduct Additional Store Closings at Additional Closing Stores identified at a

later date or dates, pursuant to the Sale Guidelines.

II.       The Sale Guidelines.

                   To maximize the value of Prescription Assets and Non-Prescription Assets

(together, the “Closing Store Assets”) and effectuate the Store Closings, the Debtors seek approval

of streamlined procedures to sell the Closing Store Assets free and clear of liens, claims, and

encumbrances (with the proceeds thereof distributed in accordance with the DIP Orders). 4 As set

forth below, the Sale Guidelines are substantially similar to sale guidelines approved in pharmacy

and/or retail bankruptcies across the United States. The Debtors also seek approval of the Sale



3
      Contemporaneously herewith, the Debtors filed (a) the Debtors’ Motion for Entry of an Order (I) Authorizing
      (A) Rejection of Certain Unexpired Leases of Non-Residential Real Property and (B) Abandonment of any
      Personal Property, Effective as of the Rejection Date and (II) Granting Related Relief (the “Lease Rejection
      Motion”) and (b) the Debtors’ Motion for Entry of an Order (I) Authorizing and Approving Procedures to Reject
      or Assume Executory Contracts and Unexpired Leases and (II) Granting Related Relief (the “Assumption and
      Rejection Procedures Motion”). This Motion seeks independent relief and does not request authorization to reject,
      assume, or assume and assign any executory contract or unexpired lease of the Debtors.

4
      “DIP Orders” means any interim or final orders of the Court granting the Debtors’ Motion for Entry of Interim
      and Final Orders (I) Authorizing Debtors To (A) Obtain Postpetition Financing and (B) Utilize Cash Collateral,
      (II) Granting Liens and Superpriority Administrative Expense Claims, (III) Granting Adequate Protection,
      (IV) Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related Relief.


                                                           6
Case 23-18993-MBK         Doc 37    Filed 10/16/23 Entered 10/16/23 03:31:27               Desc Main
                                   Document     Page 7 of 89



Guidelines to provide newspaper and other advertising media in which the Sales may be advertised

with comfort that the Debtors are conducting the Sales, as applicable, in compliance with

applicable law and with the Court’s approval. The Debtors seek interim approval of the Sale

Guidelines to allow the continuation and commencement of the Sales at the Closing Stores.

                The Debtors have determined, in the exercise of their reasonable business judgment

and in consultation with their advisors, that the Sale Guidelines will provide the best and most

efficient means of selling the Closing Store Assets to maximize their value to the estates.

III.      Liquidation Sale Laws and Dispute Resolution Procedures.

                Certain jurisdictions in which the Debtors operate stores have or may have licensing

or other requirements governing the conduct of store closing, liquidation, or other inventory

clearance sales, including, without limitation, state and local laws, statutes, rules, regulations, and

ordinances (collectively, the “Liquidation Sale Laws”). The Liquidation Sale Laws may establish

licensing, permitting, or bonding requirements, waiting periods, time limits, bulk sale restrictions,

and augmentation limitations that would otherwise apply to the Store Closings. Such requirements

hamper the Debtors’ ability to maximize value in selling the Closing Store Assets. Subject to the

Court’s approval, the Debtors intend to conduct the Store Closings in accordance with the

Sale Guidelines, and to the extent the Sale Guidelines conflict with the Liquidation Sale Laws, the

Sale Guidelines shall control.

                For the orderly resolution of any disputes between the Debtors and any

Governmental Units (as defined in section 101(27) of the Bankruptcy Code) arising due to the Sale

Guidelines and the alleged applicability of any Liquidation Sale Laws, the Debtors respectfully

request that the Court approve and authorize the Debtors to implement the following dispute

resolution procedures (the “Dispute Resolution Procedures”), as set forth in the Interim and Final

Orders:
                                                  7
Case 23-18993-MBK      Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27               Desc Main
                                 Document     Page 8 of 89



      i.     Provided that the Sales are conducted in accordance with the Interim Order, any
             Final Order, and the Sale Guidelines, the Debtors and the Debtors’ landlords shall
             be deemed to be in compliance with any requirements of any and all county, parish,
             municipal, or other local government (collectively, “Local”) and state Liquidation
             Sale Laws that would otherwise apply to the Store Closings or the Sales; provided
             that the term “Liquidation Sale Laws” shall not include any public health or safety
             laws of any state (collectively, “Safety Laws”), and the Debtors shall continue to
             be required to comply with applicable Safety Laws and applicable General Laws
             (as defined in the Interim and Final Orders), subject to any applicable provisions of
             the Bankruptcy Code and federal law, and nothing in the Interim Order or the Final
             Order shall be deemed to bar Governmental Units (as defined in section 101(27) of
             the Bankruptcy Code) or public officials from enforcing Safety Laws or General
             Laws.

      ii.    Within five business days after entry of the Interim Order, or as soon as reasonably
             practicable thereafter, the Debtors will serve by first-class mail copies of the Interim
             Order, the proposed Final Order, and the Sale Guidelines on the following: (a) the
             Attorney General’s office for each state where the Sales are being held; (b) the
             Board of Pharmacy’s office for each state where a Closing Store is located; (c) the
             county consumer protection agency or similar agency for each county where the
             Sales are being held; (d) the division of consumer protection for each state where
             the Sales are being held; (e) the landlords for the Closing Stores; and (f) any
             subtenants (if any) under the leases with respect to the Closing Stores
             (collectively, the “Dispute Notice Parties”).

      iii.   With respect to any Additional Closing Stores, within five business days after filing
             any Additional Closing Store List (as defined below) with the Court, or as soon as
             reasonably practicable thereafter, the Debtors will serve copies of the Interim Order
             or the Final Order (if entered) and the Sale Guidelines on the applicable Dispute
             Notice Parties.

      iv.    To the extent that there is a dispute arising from or relating to the Sales, the Interim
             Order or Final Order, or the Sale Guidelines, which dispute relates to any
             Liquidation Sale Laws (a “Reserved Dispute”), the Court shall retain exclusive
             jurisdiction to resolve the Reserved Dispute. Any time within ten days following
             entry of the Interim Order, or the service of an Additional Closing Store List, any
             Governmental Unit may assert that a Reserved Dispute exists by serving a notice
             (the “Dispute Notice”) explaining the nature of the dispute on: (a) Kirkland & Ellis
             LLP, 601 Lexington Avenue, New York, New York 10022, Attn: Joshua A.
             Sussberg, P.C., Aparna Yenamandra, P.C.; Ross J. Fiedler, and Zachary R.
             Manning; (b) Cole Schotz, P.C., Court Plaza North, 25 Main Street, Hackensack,
             New Jersey 07601, Attn: Michael D. Sirota, Warren A. Usatine, Felice R. Yudkin,
             and Seth Van Aalten; (c) Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285
             Avenue of the Americas, New York, New York 10019 (Attn: Andrew N.
             Rosenberg         (arosenberg@paulweiss.com);            Brian        S.       Hermann
             (bhermann@paulweiss.com);                 and           Christopher            Hopkins
             (chopkins@paulweiss.com) and Fox Rothschild LLP, 49 Market Street,

                                                8
Case 23-18993-MBK     Doc 37    Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                               Document     Page 9 of 89



            Morristown, NJ 07960 (Attn: Howard A. Cohen (hcohen@foxrothschild.com);
            Joseph J. DiPasquale (jdipasquale@foxrothschild.com) and Michael R. Herz
            (mherz@foxrothschild.com), counsel for the Ad Hoc Secured Noteholder Group;
            (d) the United States Trustee for the District of New Jersey, One Newark Center,
            Suite 2100, Newark, NJ 07102, Attn: Jeffrey M. Sponder and Lauren Bielskie;
            (e) Choate, Hall & Stewart LLP, Two International Place, Boston, MA 02110
            (Attn: John F. Ventola (jventola@choate.com), Jonathan D. Marshall
            (jmarshall@choate.com) and Mark D. Silva (msilva@choate.com) and Greenberg
            Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park NJ 07932 (Attn: Alan
            J. Brody (brodya@gtlaw.com), Oscar N. Pinkas (pinkaso@gtlaw.com))
            (the “Counsel to the DIP Agents”); (f) counsel to any statutory committee
            appointed in these chapter 11 cases; and (g) the affected landlord or its known
            counsel. If the Debtors and the Governmental Unit are unable to resolve the
            Reserved Dispute within fifteen days after service of the Dispute Notice, the
            Governmental Unit may file a motion with the Court requesting that the Court
            resolve the Reserved Dispute (a “Dispute Resolution Motion”).

      v.    If a Dispute Resolution Motion is filed, nothing in the Interim Order or the Final
            Order, as applicable, shall preclude the Debtors, a landlord, or any other interested
            party from asserting (a) that the provisions of any Liquidation Sale Laws are
            preempted by the Bankruptcy Code, or (b) that neither the terms of the Interim
            Order nor the Final Order, nor the conduct of the Debtors pursuant to the Interim
            Order or the Final Order, violates such Liquidation Sale Laws. The filing of a
            Dispute Resolution Motion as set forth herein shall not be deemed to affect the
            finality of the Interim Order or the Final Order or to limit or interfere with the
            Debtors’ ability to conduct or to continue to conduct Sales and Store Closings
            pursuant to the Interim Order or the Final Order, as applicable, absent further order
            of the Court. Upon the entry of the Interim Order or Final Order, the Debtors shall
            be authorized to conduct the Sales and Store Closings pursuant to the terms of the
            Interim Order or the Final Order, as applicable, and the Sale Guidelines, and to take
            all actions reasonably related thereto or arising in connection therewith. The
            Governmental Unit will be entitled to assert any jurisdictional, procedural, or
            substantive arguments it wishes with respect to the requirements of its Liquidation
            Sale Laws or the lack of any preemption of such Liquidation Sale Laws by the
            Bankruptcy Code. Nothing in the Interim Order or the Final Order will constitute
            a ruling with respect to any issues to be raised in any Dispute Resolution Motion.

      vi.   If, at any time, a dispute arises between the Debtors and a Governmental Unit as to
            whether a particular law is a Liquidation Sale Law, and subject to any provisions
            contained in the Interim Order or the Final Order related to the Liquidation Sale
            Laws, then any party to that dispute may utilize the provisions of subparagraphs
            (iv) and (v) above by serving a notice to the other party and proceeding thereunder
            in accordance with those paragraphs. Any determination with respect to whether a
            particular law is a Liquidation Sale Law shall be made de novo.




                                              9
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27           Desc Main
                                  Document      Page 10 of 89



IV.    Fast Pay Laws.

               Several states in which the Debtors operate have laws and regulations that require

the Debtors to pay an employee substantially contemporaneously with his or her termination

(the “Fast Pay Laws” and together with the Liquidation Sale Laws, the “Applicable State Laws”).

These laws often require payment to occur immediately or within a period of only a few days from

the date such employee is terminated.

               The nature of the contemplated Store Closings is expected to result in the

termination of certain Closing Store employees’ employment during the Store Closings. To be

clear, the Debtors intend to pay their terminated employees as expeditiously as possible and under

normal payment procedures. The Debtors’ payroll systems, however, may be unable to process

the payroll information associated with these terminations in a manner that will be compliant with

the Fast Pay Laws. Under ordinary circumstances, the Debtors’ payroll department is able to

coordinate delivery of final payments to coincide with an employee’s final day of work where

required by applicable law. This process requires the Debtors’ payroll department to calculate

individual payments upon termination, prepare each termination payment, obtain authorization for

each such payment, and then prepare each such payment for disbursement. Given the number of

employees who will be terminated during the Store Closings, this process could easily take several

days, making compliance with the Fast Pay Laws burdensome to the Debtors’ estates, if not

impossible.

V.     Disposition of Prescription Assets.

               As discussed above, in connection with their pharmacy business, the Debtors own

certain Prescription Assets across their various store locations, including the Closing Stores.

Before the Petition Date, in connection with the Debtors’ prepetition store closures, the Debtors

either transferred Prescription Assets to non-closing Company stores or sold closing stores’

                                               10
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                  Document      Page 11 of 89



Prescription Assets to one or more non-Rite Aid pharmacies on a confidential basis, with such sale

transactions averaging $0.8 million per sale.

               By this Motion, the Debtors seek authority to continue Sales and internal transfers

of Prescription Assets on a confidential basis consistent with their past practice. The Prescription

Assets are prototypical “melting ice cube” assets. If customers anticipate a potential store

closure—which they likely will here given extensive media coverage of the Debtors’ restructuring

and the public nature of these cases—they may transfer their prescriptions to another pharmacy,

leaving no saleable or internally transferable prescription file with the old pharmacy. This dynamic

is intensified by the limited market for the Prescription Assets, which under applicable

nonbankruptcy law generally can only be sold to another licensed/registered pharmacy. The

universe of potential acquirors is therefore limited. Accordingly, the Debtors firmly believe that

continuing Sales and internal transfers of Prescription Assets consistent with their historical

practice is the best way to maximize the value of those assets.

VI.    Contractual Restrictions.

               The Debtors also respectfully request a waiver of any contractual restrictions that

could otherwise inhibit or prevent the Debtors from maximizing value through the Store Closings

and Sales. In certain cases, the contemplated Store Closings and Sales may be inconsistent

with certain provisions of leases, subleases, or other agreements or documents with respect to the

premises in or upon which the Debtors operate, including (without limitation) reciprocal easement

agreements, agreements containing covenants, conditions, and restrictions (e.g., “go dark”

provisions and landlord recapture rights), or other similar agreements, documents, or provisions




                                                11
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                  Document      Page 12 of 89



(collectively, “Contractual Restrictions”). Such restrictions would also hamper the Debtors’

ability to maximize value in selling Closing Store Assets.

               The Debtors also request that no person or entity, including, without limitation,

utilities, landlords, shopping center managers and personnel, creditors, and all persons acting for

or on their behalf shall interfere with or otherwise impede the conduct of the Store Closings, the

Sales or institute any action against the Debtors in any court (other than in the Court) or before

any administrative body that in any way directly or indirectly interferes with, obstructs, or

otherwise impedes the conduct of the Store Closings, the Sales, or the advertising and promotion

(including through the posting of signs) of the Sales.

VII.    Abandonment.

               The Debtors respectfully request that the Court authorize the abandonment of

certain owned Non-Prescription Assets remaining in the Closing Stores. The Debtors intend to

sell any marketable owned Non-Prescription Assets present in the Closing Stores. In certain cases,

however, the Debtors may determine that the cost associated with holding or selling that property

exceeds the proceeds that will be realized from its sale—or such property may not be saleable at

all.   In such cases, retaining the property would be burdensome to the estate and the property

would be of inconsequential value. For the avoidance of doubt, the Debtors will not sell any

personal identifying information (which means information that alone or in conjunction with other

information identifies an individual, including, but not limited to, an individual’s name, social

security number, date of birth, government-issued identification number, account number, and

credit or debit card number) as part of the Store Closings, and all personal identifying information

will be removed from any Non-Prescription Assets prior to abandonment of same. Accordingly,

the Debtors respectfully submit that abandonment of such property is in the best interests of their



                                                12
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                   Document      Page 13 of 89



estates and request that the Court authorize the Debtors to do so where the Debtors determine in

their business judgment that abandonment is the appropriate course of action.

                                          Basis for Relief

I.     The Debtors Have a Valid Business Justification for the Sales of the Closing
       Store Assets.

               Section 363(b)(1) of the Bankruptcy Code, which governs asset sales outside of a

debtor’s ordinary course of business, provides that “the trustee, after notice and a hearing, may

use, sell, or lease, other than in the ordinary course of business, property of the estate.” 11 U.S.C.

§ 363(b)(1). When selling assets outside of the ordinary course of business, a debtor must

articulate a valid business justification to obtain court approval. See, e.g., Myers v. Martin

(In re Martin), 91 F.3d 389, 395 (3d Cir. 1996) (citation omitted); In re Abbotts Dairies, Inc., 788

F.2d 143, 147-48 (3d Cir. 1986). When a debtor demonstrates a valid business justification for a

decision, a strong presumption arises “that in making [the] business decision the directors of

[the company] acted on an informed basis, in good faith and in the honest belief that the action

taken was in the best interests of the company.” Off. Comm. of Subordinated Bondholders v.

Integrated Res., Inc. (In re Integrated Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1990) (holding that

the Delaware business judgment rule has “vitality by analogy” in chapter 11).

               Store closing or liquidation sales are a routine occurrence in chapter 11 cases

involving retail debtors. See, e.g., In re Bed Bath & Beyond Inc., No. 23-13359 (VFP) (Bankr.

D.N.J. June 7, 2023) (authorizing procedures for store closing sales); In re Christopher & Banks

Corporation, No. 21-10269 (ABA) (Bankr. D.N.J. Feb. 8, 2021) (same); In re RTW Retailwinds,

Inc., No. 20-18445 (JKS) (Bankr. D.N.J. Aug. 10, 2020) (same); In re SLT Holdco, Inc., No. 20-




                                                 13
Case 23-18993-MBK            Doc 37      Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                       Document      Page 14 of 89



18368 (MBK) (Bankr. D.N.J. July 29, 2020) (same); In re Modell’s Sporting Goods, Inc., No. 20-

14179 (VFP) (Bankr. D.N.J. June 25, 2020) (same). 5

                 Sufficient business justification exists to approve the proposed Sales of the Closing

Store Assets under section 363(b)(1). 6 The Debtors, with the assistance of their advisors, have

determined that the Sales represent the best alternative to monetize the Closing Store Assets and

maximize the value received by the Debtors on account thereof. First, delay in commencing any

Sales would diminish the value realizable through the sale of the Closing Store Assets. Many of

the Closing Stores fail to generate positive cash flow and therefore are a significant drain on

liquidity. Accordingly, the Debtors will realize a near-term liquidity improvement through the

Store Closings and related Sales. Second, with respect to Sales of Non-Prescription Assets, there

are meaningful amounts of Non-Prescription Assets in the aggregate that may be monetized most

efficiently and quickly through an orderly mark-down sale process. Third, uninterrupted and

orderly Sales will allow the Debtors to timely reject or assume and assign leases associated with

the Closing Stores and, therefore, avoid the accrual of unnecessary administrative expenses for

rent and related costs. Suspension of the Sales until entry of the Final Order may cause the Debtors

to incur claims for rent at many of these stores for another month, potentially costing the estate

millions of dollars each month. Finally, with respect to Prescription Assets, permitting timely

Sales of the Prescription Assets consistent with the Debtors’ prepetition practices is the best




5
    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
    Copies of these orders are available upon request to the Debtors’ proposed counsel.

6
    With respect to Sales of Inventory and Prescription Assets, the Debtors submit that such Sales are authorized
    without notice or hearing pursuant to section 363(c) of the Bankruptcy Code as sales in the “ordinary course of
    business,” given the Debtors’ well-established prepetition store closing process. See 11 U.S.C. § 363(c). The
    Debtors are nonetheless requesting authority to conduct Sales of Inventory and Prescription Assets by this Motion
    out of an abundance of caution.


                                                        14
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 15 of 89



pathway to preserve and maximize Prescription Asset value, given the risk of value erosion if such

Sales are not timely consummated.

II.    The Court Should Approve the Sale Guidelines.

               The Court may authorize the Debtors to consummate the Store Closings pursuant

to sections 105(a) and 363(b) of the Bankruptcy Code. Section 363(b)(1) of the Bankruptcy Code

provides, in relevant part, that, “[t]he [debtor], after notice and a hearing, may use, sell, or lease,

other than in the ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1).

Further, section 105(a) of the Bankruptcy Code provides, in relevant part, that, “[t]he court may

issue any order, process, or judgment that is necessary or appropriate to carry out the provisions

of this title.” 11 U.S.C. § 105(a).

               As discussed herein, pursuant to section 363(b) of the Bankruptcy Code, for the

purpose of conducting the Store Closings, the Debtors need only show a legitimate business

justification for the proposed action. See, e.g., Martin, 91 F.3d at 395 (citation omitted).

               In addition, the Court may authorize the Store Closings based on section 105(a) of

the Bankruptcy Code. Section 105(a) codifies the Court’s inherent equitable powers to “issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of

[the Bankruptcy Code].” Under section 105(a), courts may authorize any action that is essential

to the continued operation of a debtor’s businesses. See, e.g., In re NVR L.P., 147 B.R. 126, 127

(Bankr. E.D. Va. 1992) (holding that a court may permit pre-plan payments of prepetition

obligations when essential to the continued operation of the debtor); In re Fin. News Network Inc.,

134 B.R. 732, 735–36 (Bankr. S.D.N.Y. 1991) (same).

               The relief requested by this Motion represents a sound exercise of the Debtors’

business judgment, is necessary to avoid immediate and irreparable harm to the Debtors’ estates,

and is justified under sections 105(a) and 363(b) of the Bankruptcy Code. The Debtors believe
                                                  15
Case 23-18993-MBK          Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                    Document      Page 16 of 89



that the Sale Guidelines represent the most efficient and appropriate means of maximizing the

value of the Closing Store Assets, while balancing the potentially competing concerns of landlords

and other parties in interest.

                Furthermore, ample business justification exists to conduct the Store Closings.

Prior to the Petition Date, the Debtors, with the assistance of their advisors, engaged in an extensive

review of their store footprint to identify specific store locations for near-term closure to eliminate

their ongoing negative impact on the Debtors’ financial performance and to improve the Debtors’

liquidity. This process has resulted in the Debtors’ identification of the Initial Closing Stores and

is ongoing with respect to any Additional Closing Stores.

                Delay in consummating the Store Closings would diminish the value realized

through monetization of the Closing Store Assets for a number of reasons, chief among them that

the Closing Stores are a drain on liquidity. Thus, the Debtors will realize a near-term liquidity

improvement upon the sale of the Closing Store Assets and the termination of operations at the

Closing Stores. Further, the swift and orderly consummation of the Store Closings will allow the

Debtors to timely reject or assume and assign the applicable store leases, and therefore avoid the

accrual of unnecessary administrative expenses for rent payment. Delaying the Store Closings

may cause the Debtors to incur postpetition rent obligations at many of these stores. Additionally,

given the Debtors’ current section 365(d)(4) deadline, there is a finite number of days that the

Sales can run without obtaining further consents from landlords (or further relief from the Court).

                Courts in this and other districts have routinely approved sale guidelines in

chapter 11 cases, including for assets such as the Prescription Assets, and numerous courts have

granted retail debtors authority to implement such guidelines. See, e.g., In re Bed Bath & Beyond

Inc., No. 23-13359 (VFP) (Bankr. D.N.J. June 7, 2023) (authorizing the debtors, pursuant to



                                                  16
Case 23-18993-MBK               Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                         Document      Page 17 of 89



sections 105(a) and 363(b), to conduct store closings in accordance with court-approved sale

guidelines); In re Christopher & Banks Corporation, No. 21-10269 (ABA) (Bankr. D.N.J. Feb. 8,

2021) (same); In re RTW Retailwinds, Inc., No. 20-18445 (JKS) (Bankr. D.N.J. Aug. 10, 2020)

(same); In re SLT Holdco, Inc., No. 20-18368 (MBK) (Bankr. D.N.J. July 29, 2020) (same);

In re Modell’s Sporting Goods, Inc., No. 20-14179 (VFP) (Bankr. D.N.J. June 25, 2020) (same);

In re Tops Holding II Corporation, No. 18-22279 (RDD) (Bankr. S.D.N.Y. May 10, 2018)

(authorizing store closing procedures permitting transfers of customer prescription records in

accordance with applicable law); In re The Great Atl. & Pac. Tea Co., Inc., Case No. 15-23007

(RDD) (Bankr. S.D.N.Y. Jul. 28, 2015) (same). 7

III.       The Court Should Approve the Sale of the Closing Store Assets Free and Clear of all
           Liens, Encumbrances, and Other Interests under Section 363(f) of the
           Bankruptcy Code.

                    The Debtors request approval to sell the Closing Store Assets on a final “as is”

basis, free and clear of any and all liens, claims, and encumbrances in accordance with

section 363(f) of the Bankruptcy Code.                 A debtor in possession may sell property under

sections 363(b) and 363(f) “free and clear of any interest in such property of an entity other than

the estate” if any one of the following conditions is satisfied: (a) applicable non-bankruptcy law

permits sale of such property free and clear of such interest; (b) such entity consents; (c) such

interest is a lien and the price at which such property is to be sold is greater than the aggregate

value of all liens on such property; (d) such interest is in bona fide dispute; or (e) such entity could

be compelled, in a legal or equitable proceeding, to accept a money satisfaction of such interest.

11 U.S.C. § 363(f); see also Citicorp Homeowners Servs., Inc. v. Elliot (In re Elliot), 94 B.R. 343,



7
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                                                          17
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 18 of 89



345 (E.D. Pa. 1988) (noting that since section 363(f) is written in the disjunctive, the court may

approve a sale free and clear if any one subsection is met). Moreover, the Third Circuit has

indicated that a debtor possesses broad authority to sell assets free and clear of liens. See

In re TWA Inc., 322 F.3d 283, 289 (3d Cir. 2003).

               To the extent there are liens on the Closing Store Assets, the Debtors anticipate that

all holders of such liens will consent to the Sales because they provide the most effective, efficient,

and timely approach to realizing proceeds for, among other things, the repayment of amounts due

to such parties. Subject to the terms of the DIP Orders, any and all liens on the Closing Store

Assets sold through the Sales would attach to the remaining net proceeds of such sales with the

same force, effect, and priority as such liens currently have on such assets, subject to the rights

and defenses, if any, of the Debtors and of any other party in interest with respect thereto.

Moreover, all identified lienholders have received sufficient notice and have been given sufficient

opportunity to object to the relief requested.

               Accordingly, the Sales of the Closing Store Assets satisfy the requirements of

section 363(f) of the Bankruptcy Code and should, therefore, be free and clear of any liens, claims,

encumbrances, and other interests.

IV.    The Court Should Waive Compliance with Applicable State Laws and Approve the
       Dispute Resolution Procedures.

               The Debtors’ ability to conduct the Sales in accordance with the Sale Guidelines

and without complying with Applicable State Laws is critical to the Sales’ success. Although the

Debtors intend to comply with state and local health and safety laws and consumer protection laws

in conducting the Sales (including with respect to Sales of Prescription Assets), many

Liquidation Sale Laws require special and cumbersome licenses, waiting periods, time limits, and

other procedures for store closing, liquidation, or similar sales. Additionally, compliance with


                                                  18
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                  Document      Page 19 of 89



Fast Pay Laws would require the Debtors to pay terminated employees within a time frame that

likely would be detrimental to the conduct of these chapter 11 cases.

               To eliminate the time, delay, and expense associated with the administrative actions

and procedures necessary to comply with the Applicable State Laws, the Debtors propose the

Sale Guidelines to streamline the administrative burdens on their estates while still adequately

protecting the broad and varied interests of both landlords and applicable governmental agencies

charged with enforcing any Liquidation Sale Laws that may apply to the Store Closings.

Accordingly, the Debtors believe the Sale Guidelines mitigate any concerns that their landlords or

governmental agencies may raise with respect to the Store Closings, and therefore, the requested

relief complies with any applicable Liquidation Sale Laws.

               There is strong support for granting the Debtors the authority to not comply with

the Liquidation Sale Laws, subject to the Sale Guidelines. First, it is generally accepted that many

state statutes and regulations provide that, if a liquidation or bankruptcy sale is court-authorized,

a company need not comply with Liquidation Sale Laws. See, e.g., N.Y. Gen. Bus. Law § 584(a)

(so providing); 53 Pa. Stat. § 4471-5(a)(1) (same). Second, pursuant to section 105(a) of the

Bankruptcy Code, the Court has the authority to permit the Store Closings to proceed

notwithstanding any contrary Applicable State Laws as it is essential to the continued operation of

the Debtors’ business. Third, this Court will be able to supervise the Store Closings because the

Debtors and their assets are subject to this Court’s exclusive jurisdiction. See 28 U.S.C. § 1334.

Accordingly, creditors and the public interest are adequately protected by notice of this Motion

and the ongoing jurisdiction and supervision of the Court.

               Further, bankruptcy courts have consistently recognized, with limited exception,

that federal bankruptcy law preempts state and local laws that contravene the underlying policies



                                                 19
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                  Document      Page 20 of 89



of the Bankruptcy Code. See Belculfine v. Aloe (In re Shenango Group. Inc.), 186 B.R. 623, 628

(Bankr. W.D. Pa. 1995) (“Trustees and debtors-in-possession have unique fiduciary and legal

obligations pursuant to the bankruptcy code. . . . [A] state statute . . . cannot place burdens on

[a debtor] where the result would contradict the priorities established by the federal bankruptcy

code.”), aff’d, 112 F.3d 633 (3d Cir. 1997).

               Courts in some jurisdictions have found that preemption of state law is not

appropriate if the laws deal with public health and safety. See Baker & Drake. Inc. v. Pub. Serv.

Comm’n of Nev. (In re Baker & Drake. Inc.), 35 F.3d 1348, 1353–54 (9th Cir. 1994) (holding that

Bankruptcy Code did not preempt state law prohibiting taxicab leasing that was promulgated in

part as public safety measure). Nevertheless, preemption is appropriate where, as is the case here,

the only state laws involved concern economic regulation rather than the protection of public

health and safety. See id. at 1353 (finding that “federal bankruptcy preemption is more likely . . .

where a state statute is concerned with economic regulation rather than with protecting the public

health and safety”).

               Under the circumstances of these chapter 11 cases, enforcing the strict requirements

of the Liquidation Sale Laws would undermine the Bankruptcy Code’s fundamental

value-maximization imperative by placing constraints on the Debtors’ ability to maximize the

value of estate assets for the benefit of creditors. Accordingly, authorizing the Sales without the

delays and burdens associated with compliance with Liquidation Sale Laws is necessary and

appropriate. The Debtors do not seek a general waiver of all state and local law requirements, but

only those that apply specifically to retail liquidation sales. Indeed, the requested waiver is

narrowly tailored to facilitate the successful consummation of the Sales. Moreover, the Debtors

will comply with applicable state and local public health and safety laws (including with respect



                                                20
Case 23-18993-MBK            Doc 37      Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                       Document      Page 21 of 89



to Sales of Prescription Assets), and applicable tax, labor, employment, environmental, and

consumer protection laws, including consumer laws regulating deceptive practices and false

advertising. Finally, the Dispute Resolution Procedures provide an orderly means for resolving

any disputes arising between the Debtors and any Governmental Units with respect to the

applicability of any Liquidation Sale Laws, and should therefore be approved.

                 Further, courts in this district, and in other districts, have recognized that the

Bankruptcy Code preempts certain state laws and have granted relief similar to that requested

herein. See, e.g., In re Bed Bath & Beyond Inc., No. 23-13359 (VFP) (Bankr. D.N.J. June 7, 2023)

(authorizing debtors to conduct store closing sales under the terms of the order and finding that

“no further approval, license, or permit of any Governmental Unit shall be required”);

In re Christopher & Banks Corporation, No. 21-10269 (ABA) (Bankr. D.N.J. Feb. 8, 2021)

(same); In re RTW Retailwinds, Inc., No. 20-18445 (JKS) (Bankr. D.N.J. Aug. 10, 2020) (same);

In re SLT Holdco, Inc., No. 20-18368 (MBK) (Bankr. D.N.J. July 29, 2020) (same); In re Modell’s

Sporting Goods Inc., No. 20-14179 (VFP) (Bankr. D.N.J. June 25, 2020) (same). 8

                 Courts have also granted similar relief from Fast Pay Laws in other bankruptcy

cases under similar circumstances. See, e.g., In re Bed Bath & Beyond Inc., No. 23-13359 (VFP)

(Bankr. D.N.J. June 7, 2023) (granting relief from federal, state, or local laws including “any fast

pay laws” in connection with store closing sales); In re Z Gallerie, LLC, No. 19-10488 (LSS)

(Bankr. D. Del. Apr. 9, 2019) (same); In re Things Remembered, Inc., No. 19-10234 (KG) (Bankr.

D. Del. Feb. 28, 2019) (same); In re Charming Charlie Holdings, Inc., No. 17-12906 (CSS)




8
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                                                        21
Case 23-18993-MBK             Doc 37      Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                        Document      Page 22 of 89



(Bankr. D. Del. Dec. 13, 2017); In re Golfsmith Int’l Holdings, Inc., No. 16- 12033 (Bankr. D. Del.

Oct. 13, 2016) (same). 9

V.       The Court Should Waive Compliance with Contractual Restrictions.

                  Certain of the Debtors’ leases governing the premises of the Closing Stores may

contain provisions purporting to restrict or prohibit the Debtors from conducting store closing,

liquidation, or similar sales. Such provisions have been held to be unenforceable in chapter 11

cases as they constitute an impermissible restraint on a debtor’s ability to properly administer its

reorganization case and maximize the value of its assets under section 363 of the Bankruptcy Code.

See In re Ames Dep’t Stores, Inc., 136 B.R. 357, 359 (Bankr. S.D.N.Y. 1992) (determining that

enforcement of such lease restrictions would “contravene overriding federal policy requiring

[the debtor] to maximize estate assets . . . .”); In re R.H. Macy and Co., Inc., 170 B.R. 69, 73–74

(Bankr. S.D.N.Y. 1994) (holding that the lessor could not recover damages for breach of a

covenant to remain open throughout the lease term, because the debtor had a duty to maximize the

value to the estate and the debtor fulfilled this obligation by holding a store closing sale and closing

the store); In re Tobago Bay Trading Co., 112 B.R. 463, 467–68 (Bankr. N.D. Ga., 1990) (finding

that a debtor’s efforts to reorganize would be significantly impaired to the detriment of creditors

if lease provisions prohibiting a debtor from liquidating its inventory were enforced); In re Lisbon

Shops, Inc., 24 B.R. 693, 695 (Bankr. E.D. Mo. 1982) (holding restrictive lease provision

unenforceable in chapter 11 case where the debtor sought to conduct a liquidation sale).

                  Courts in this district and others have held that restrictive lease provisions affecting

store liquidation sales in chapter 11 cases are unenforceable. See, e.g., In re Bed Bath & Beyond



9
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                                                         22
Case 23-18993-MBK           Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27          Desc Main
                                     Document      Page 23 of 89



Inc., No. 23-13359 (VFP) (Bankr. D.N.J. June 7, 2023) (ordering that restrictive lease provisions

shall not be enforceable in conjunction with store closings); In re Christopher & Banks

Corporation, No. 21-10269 (ABA) (Bankr. D.N.J. Feb. 8, 2021) (same); In re RTW Retailwinds,

Inc., No. 20-18445 (JKS) (Bankr. D.N.J. Aug. 10, 2020) (same); In re SLT Holdco, Inc., No. 20-

18368 (MBK) (Bankr. D.N.J. July 29, 2020) (same); In re Modell’s Sporting Goods Inc., No. 20-

14179 (VFP) (Bankr. D.N.J. June 25, 2020) (same).

               Thus, to the extent that such provisions or restrictions exist in any of the leases of

the Closing Stores, the Debtors request that the Court authorize the Debtors to conduct Sales at the

Closing Stores without interference by any landlords or other persons affected, directly or

indirectly, by the Sales.

VI.    The Court Should Approve the Abandonment of Certain Property in Connection
       with any Liquidation Sales.

               After notice and a hearing, a debtor “may abandon any property of the estate that

is burdensome to the estate or that is of inconsequential value and benefit to the estate.” 11 U.S.C.

§ 554(a); see also Hanover Ins. Co. v. Tyco Indus., Inc., 500 F.2d 654, 657 (3d Cir. 1974) (stating

that a trustee “may abandon his claim to any asset, including a cause of action, he deems less

valuable than the cost of asserting that claim”).

               The Debtors are seeking to sell all owned Non-Prescription Assets remaining in the

Closing Stores. In certain cases, however, the Debtors may determine that the costs associated

with holding or selling certain Non-Prescription Assets exceeds the proceeds that will be realized

upon their sale, or that such property is not sellable at all. In such event, the property is of

inconsequential value and benefit to the estates and/or may be burdensome to retain.

               To maximize the value of the Debtors’ assets and to minimize the costs to the

estates, the Debtors respectfully request authority to abandon any of their remaining


                                                    23
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 24 of 89



Non-Prescription Assets located at any of the Closing Stores without incurring liability to any

person or entity. The Debtors further request that the landlord of each Closing Store with any

abandoned Non-Prescription Assets be authorized to dispose of such property without liability to

any third parties.

                Notwithstanding the foregoing, the Debtors will utilize all commercially reasonable

efforts to remove or cause to be removed any confidential or personal identifying information

(which means information that alone or in conjunction with other information identifies an

individual, including, but not limited to, an individual’s name, social security number, date of birth,

government-issued identification number, account number, and credit or debit card number) in any

of the Debtors’ hardware, software, computers or cash registers or similar equipment that are to be

sold or abandoned.

VII.    The Court Should Approve the Procedures Relating to Additional Closing Stores.

                The Debtors request that the Sale Guidelines, the Interim Order, and the Final Order

apply to Store Closings of any Additional Closing Stores. In order to provide landlords and other

parties in interest with information regarding the ultimate disposition of the Closing Stores, to the

extent that the Debtors seek to conduct Store Closings (and related Sales) at any Additional Closing

Store, the Debtors will file a list of such Additional Closing Stores with the Court

(the “Additional Closing Store List”), and serve a notice of their intent to conduct the applicable

Sales at the Additional Closing Stores on the Dispute Notice Parties, including applicable landlords

(the “Additional Closing Store Landlords”), and any other interested parties by email

(to the extent available to the Debtors) or overnight mail within five business days of filing the

Additional Store Closing List or as soon as reasonably practicable thereafter. With respect to the

Dispute Notice Parties, including the Additional Closing Store Landlords, the Debtors will mail



                                                  24
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                  Document      Page 25 of 89



such notice to the notice address set forth in the lease for such Additional Closing Store (or at the

last known address available to the Debtors).

                The Debtors propose that the Additional Closing Store Landlords (each of whom

will have already been served with this Motion, the Interim Order, and possibly the Final Order)

and any interested parties have five days after service of the applicable Additional Closing Store

List to object to the application of the relevant Order to their Closing Stores. If no timely

objections are filed with respect to the application of the Order to an Additional Closing Store,

then the Debtors should be authorized, pursuant to sections 105(a) and 363(b) and (f) of the

Bankruptcy Code to proceed with conducting the Store Closing and Sales at the Additional Closing

Store in accordance with the Order and the Sale Guidelines. If any objections are filed with respect

to the application of the Order to an Additional Closing Store, and such objections are not resolved,

the objections and the application of the Order to the Additional Closing Store will be considered

by the Court at the next regularly scheduled omnibus hearing, subject to the rights of any party to

seek relief on an emergency basis on shortened notice, to the extent necessary so that the Debtors

can move promptly to maximize value and minimize expenses for the benefit of their creditors and

stakeholders.

VIII. The Sale of Personally Identifiable Information Does Not Require, and Should Be
      Allowed Without, the Appointment of a Consumer Privacy Ombudsman.

                Section 101(41A) of the Bankruptcy Code defines “personally identifiable

information” (“Personally Identifiable Information”) as an individual’s name, residence address,

email address, telephone number, social security number, or credit card number, as well as an

individual’s birth date or other information that, if associated with the information described

previously, would permit the identification or contacting of the individual. 11 U.S.C. § 101(41A).

Section 332 of the Bankruptcy Code requires the appointment of a consumer privacy ombudsman


                                                 25
Case 23-18993-MBK          Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27           Desc Main
                                    Document      Page 26 of 89



(an “Ombudsman”) only when a debtor seeks to sell or transfer Personally Identifiable Information

in contravention of the debtor’s privacy policy with respect to the transfer of such Personally

Identifiable Information. See 11 U.S.C. § 363 (b)(1)(A).

                  As explained in the Frejka Declaration, the contemplated Sales of Closing Store

Assets, including Prescription Assets, are consistent with the Debtors’ applicable privacy policies

and therefore do not necessitate appointment of an Ombudsman under section 332 of the

Bankruptcy Code.

                  The Debtors’ umbrella privacy policy, which is publicly available on the Debtors’

website at: https://www.riteaid.com/legal/privacy-policy, and would be applicable to Personally

Identifiable Information transfers in connection with Store Closings, provides, in pertinent part, as

follows:

       We also may disclose information about you in certain unusual circumstances,
       including (1) if we are required to do so by law or legal process; (2) in response to
       requests by government agencies, such as law enforcement authorities; (3) to
       establish, exercise, or defend our legal rights; (4) when we believe disclosure is
       necessary or appropriate to prevent physical or other harm or financial loss; (5) in
       connection with an investigation of suspected or actual fraud or other illegal
       activity; or (6) in the event we sell or transfer (or contemplate the sale or transfer
       of) all or a relevant portion of our business or assets (including in the event of a
       merger, acquisition, joint venture, reorganization, divestiture, dissolution, or
       liquidation).

Additionally, the Debtors have a specific patient privacy policy, also publicly available on the

Debtors’ website at:       https://www.riteaid.com/legal/patient-privacy-policy, that provides, in

pertinent part:

       We will use your protected health information to carry out health care operations.
       These uses and disclosures are necessary to run the pharmacy and to make sure that
       all of our patients receive quality care. For example, we may use your protected
       health information to monitor the quality of pharmacist performance and to train
       pharmacy personnel. Your protected health information may also be transferred
       for the purposes of carrying out pharmacy services if we buy or sell pharmacy
       locations.

                                                 26
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                  Document      Page 27 of 89




               Based on the language of these privacy policies, section 363(b)(1) is not implicated

because the Debtors do not disclose to any “individual a policy prohibiting the transfer of

personally identifiable information.” See 11 U.S.C. § 363(b)(2) (emphasis added). Indeed, the

Debtors’ privacy policies expressly permit transfer and disclosure of Personally Identifiable

Information in connection with assets sales and buying and selling pharmacy locations. But even

if section 363(b)(1) were implicated, the Court may authorize the proposed Sales without

appointing an Ombudsman because the transfer of the “personally identifiable information”

through the Sales is consistent with the Debtors’ privacy policies as provided in 11 U.S.C

§ 363(b)(1).

               The transfer of Personally Identifiable Information is further consistent with the

Debtors’ privacy policies even to the extent the Debtors’ privacy policies import requirements of

the Health Insurance Portability and Accountability Act of 1996 (“HIPAA”) relating to transfers

of medical information. The Debtors’ patient privacy policy describes how the Debtors maintain

and share medical information and is publicly available, as discussed above. The policy provides

that such “protected health information” (“PHI”) will not be used or disclosed unless as provided

for under the policy, “or as otherwise permitted or required by law.”

               HIPAA privacy regulations permit the sale of PHI in circumstances where such

information is sold by one “covered entity” to another. See, 45 C.F.R. § 164.502(a)(5)(ii) (2014);

45 C.F.R. § 160.103 (2014) (defining “covered entity” as “[a] health care provider who transmits

any health information in electronic form in connection with a transaction covered by this

subchapter.”); see also In re Great Atl. and Pac. Tea Co, Inc., Case No. 15-23007 (Bankr. S.D.N.Y

Aug. 11, 2015) (Report of Consumer Privacy Ombudsman) (“The proposed sale of the Pharmacy

Records is therefore permitted by law and consistent with the Debtors’ privacy practices . . . .”)

                                                27
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 28 of 89



(citing 45 C.F.R. § 164.502(a)(5)(ii) (2014)). The Debtors expect that, where applicable, buyers

of Closing Store Assets containing PHI related to Store Closings, such as buyers of Prescription

Assets, will be “covered entities,” such as other pharmacies, under the applicable HIPAA

regulations. In turn, because the sale of PHI is permitted under applicable HIPAA regulations, the

sale of such personal identifiable information (which may also include PHI) is therefore

permissible and consistent with the Debtors’ patient privacy policy as provided in section

363(b)(1) of the Bankruptcy Code. Accordingly, the contemplated Sales of Closing Store Assets,

including Prescription Assets, do not necessitate the appointment of an Ombudsman in these

chapter 11 cases.

                 The Requirements of Bankruptcy Rule 6003(b) Are Satisfied

               Bankruptcy Rule 6003 empowers a court to grant relief within the first twenty-one

days after the Petition Date “to the extent that relief is necessary to avoid immediate and irreparable

harm.” As set forth in this Motion, the Debtors’ continuation and timely commencement of

Store Closings (and related Sales) is critical to maximize the value of the Closing Store Assets,

and any delay in granting the relief requested could result in material erosion of such value and

cause irreparable harm. Furthermore, failure to receive the requested relief during the first 30 days

of these chapter 11 cases entails the same risk. The Debtors’ ability to timely carry out the Store

Closings without interruption is vital to maximize the value of the Closing Store Assets for the

benefit of the Debtors’ creditors—and thus foundational to the Debtors’ successful restructuring.




                                                  28
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                  Document      Page 29 of 89



Accordingly, the Debtors submit that they have satisfied the “immediate and irreparable harm”

standard of Bankruptcy Rule 6003 to support the relief requested herein.

                       Waiver of Bankruptcy Rule 6004(a) and 6004(h)

               To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing the use,

sale, or lease of property under Bankruptcy Rule 6004(h).

                                Waiver of Memorandum of Law

               The Debtors respectfully request that the Court waive the requirement to file a

separate memorandum of law pursuant to Local Rule 9013-1(a)(3) because the legal basis upon

which the Debtors rely is set forth herein and the Motion does not raise any novel issues of law.

                                      Reservation of Rights

               Nothing contained in this motion or any order granting the relief requested in this

motion, and no action taken pursuant to the relief requested or granted (including any payment

made in accordance with any such order), is intended as or shall be construed or deemed to be:

(a) an admission as to the amount of, basis for, or validity of any claim against the Debtors under

the Bankruptcy Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any

other party in interest’s right to dispute any claim on any grounds; (c) a promise or requirement to

pay any particular claim; (d) an implication, admission or finding that any particular claim is an

administrative expense claim, other priority claim or otherwise of a type specified or defined in

this motion or any order granting the relief requested by this motion; (e) a request or authorization

to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) an admission as to the validity, priority, enforceability or perfection of any

lien on, security interest in, or other encumbrance on property of the Debtors’ estates; or (g) a



                                                 29
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                   Document      Page 30 of 89



waiver or limitation of any claims, causes of action or other rights of the Debtors or any other party

in interest against any person or entity under the Bankruptcy Code or any other applicable law.

                                         No Prior Request

               No prior request for the relief sought in this motion has been made to this or any

other court.

                                               Notice

               The Debtors will provide notice of this motion to the following parties and/or their

respective counsel, as applicable: (a) the office of the United States Trustee for the District of

New Jersey; (b) the Debtors’ 50 largest unsecured creditors (on a consolidated basis);

(c) the agents under the Prepetition Credit Facilities and counsel thereto; (d) the DIP Agents and

counsel thereto; (e) Paul, Weiss, Rifkind, Wharton & Garrison LLP and Fox Rothschild LLP, as

counsel to the Ad Hoc Secured Noteholder Group; (f) the indenture trustees for the Senior Secured

Notes; (g) the indenture trustee for the Senior Unsecured Notes; (h) the United States Attorney’s

Office for the District of New Jersey; (i) the Internal Revenue Service; (j) the U.S. Securities and

Exchange Commission; (k) the attorneys general in the states where the Debtors conduct their

business operations; (l) the landlords for the Closing Stores; and (m) any party that has requested

notice pursuant to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the

relief requested, no other or further notice need be given.

                               [Remainder of page intentionally left blank]




                                                 30
Case 23-18993-MBK          Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27               Desc Main
                                    Document      Page 31 of 89



           WHEREFORE, the Debtors respectfully request that the Court enter the Interim Order

 and Final Order, substantially in the forms attached hereto as Exhibit A and Exhibit B,

 respectively, (a) granting the relief requested herein and (b) granting such other relief as is just and

 proper.

Dated: October 16, 2023
                                                 /s/ Michael D. Sirota
                                                 COLE SCHOTZ P.C.
                                                 Michael D. Sirota, Esq.
                                                 Warren A. Usatine, Esq.
                                                 Felice R. Yudkin, Esq.
                                                 Seth Van Aalten, Esq. (pro hac vice pending)
                                                 Court Plaza North, 25 Main Street
                                                 Hackensack, New Jersey 07601
                                                 Telephone: (201) 489-3000
                                                 Email:      msirota@coleschotz.com
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                                                 KIRKLAND & ELLIS LLP
                                                 KIRKLAND & ELLIS INTERNATIONAL LLP
                                                 Edward O. Sassower, P.C.
                                                 Joshua A. Sussberg, P.C. (pro hac vice pending)
                                                 Aparna Yenamandra, P.C. (pro hac vice pending)
                                                 Ross J. Fiedler (pro hac vice pending)
                                                 Zachary R. Manning (pro hac vice pending)
                                                 601 Lexington Avenue
                                                 New York, New York 10022
                                                 Telephone: (212) 446-4800
                                                 Facsimile: (212) 446-4900
                                                 Email: esassower@kirkland.com
                                                           joshua.sussberg@kirkland.com
                                                           aparna.yenamandra@kirkland.com
                                                           ross.fiedler@kirkland.com
                                                           zach.manning@kirkland.com

                                                 Proposed Co-Counsel to the Debtors and
                                                 Debtors in Possession
Case 23-18993-MBK   Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27   Desc Main
                             Document      Page 32 of 89



                                     Exhibit A

                               Proposed Interim Order
Case 23-18993-MBK               Doc 37      Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                          Document      Page 33 of 89


    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    Edward O. Sassower, P.C.
    Joshua A. Sussberg, P.C. (pro hac vice pending)
    Aparna Yenamandra, P.C. (pro hac vice pending)
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    ross.fiedler@kirkland.com
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    svanaalten@coleschotz.com

    Proposed Co-Counsel for Debtors and Debtors in Possession


    In re:                                                             Chapter 11

    RITE AID CORPORATION, et al.,                                      Case No. 23-18993 (MBK)

                                       Debtors. 1                      (Joint Administration Requested)




1
       The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
       The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
       these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
Case 23-18993-MBK     Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27    Desc Main
                               Document      Page 34 of 89



                            INTERIM ORDER
         (I) AUTHORIZING AND APPROVING THE CONDUCT OF STORE
    CLOSING SALES, WITH SUCH SALES TO BE FREE AND CLEAR OF ALL
 LIENS, CLAIMS, AND ENCUMBRANCES, AND (II) GRANTING RELATED RELIEF

The relief set forth on the following pages, numbered three (3) through twenty (20), is
ORDERED.
Case 23-18993-MBK            Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                      Document      Page 35 of 89
(Page | 3)
Debtors:                  RITE AID CORPORATION, et al.
Case No.                  23-18993 (MBK)
Caption of Order:         Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                          Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                          Encumbrances, and (II) Granting Related Relief

        Upon the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing and

Approving the Conduct of Store Closing Sales, with Such Sales to Be Free and Clear of All Liens,

Claims, and Encumbrances,, and (II) Granting Related Relief (the “Motion”), 2 of the above-

captioned debtors and debtors in possession (collectively, the “Debtors”), for entry of an interim

order (this “Interim Order”): (a) authorizing and approving the continuation or initiation of store

closing or similar themed sales (the “Initial Store Closings”) at the stores identified on Schedule 1

attached hereto (collectively, the “Initial Closing Stores”); (b) authorizing and approving the

Debtors to conduct store closings at additional stores (the “Additional Store Closings” and,

together with the Initial Store Closings, the “Store Closings”) at a later date or dates pursuant to

the procedures set forth herein (collectively, the “Additional Closing Stores,” if any, and together

with the Initial Closing Stores, the “Closing Stores”) with such sales to be free and clear of all

liens, claims, and encumbrances (the “Sales”), in accordance with the terms of the store closing

sale guidelines (the “Sale Guidelines”), attached as Schedule 2 hereto; (c) scheduling a final

hearing to consider approval of the Motion on a final basis, and (d) granting related relief, all as

more fully set forth in the Motion; and upon the First Day Declaration, the Liebman Declaration,

and the Frejka Declaration; and the Court having jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to

the Bankruptcy Court Under Title 11 of the United States District Court for the District of New

Jersey, entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this




2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.
Case 23-18993-MBK            Doc 37      Filed 10/16/23 Entered 10/16/23 03:31:27                       Desc Main
                                       Document      Page 36 of 89
(Page | 4)
Debtors:                  RITE AID CORPORATION, et al.
Case No.                  23-18993 (MBK)
Caption of Order:         Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                          Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                          Encumbrances, and (II) Granting Related Relief

Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion

was appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and

upon all of the proceedings had before the Court and after due deliberation and sufficient cause

appearing therefor IT IS HEREBY FOUND AND DETERMINED THAT: 1

        A.       The Debtors have advanced sound business reasons for adopting the

Sale Guidelines, on an interim basis subject to the Final Hearing, as set forth in the Motion and at

the Hearing.

        B.       The Sale Guidelines, which are attached hereto as Schedule 2, are reasonable and

appropriate, and the conduct of the Sales in accordance with the Sale Guidelines will provide an

efficient means for the Debtors to dispose of the Closing Store Assets, and are in the best interest

of the Debtors’ estates.

        C.       The relief set forth herein is necessary to avoid immediate and irreparable harm to

the Debtors and their estates and the Debtors have demonstrated good, sufficient and sound

business purposes and justifications for the relief approved herein.

        D.       The Store Closings and Sales are in the best interest of the Debtors’ estates.



1
    Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of
    fact where appropriate. See Fed. R. Bankr. P. 7052.
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 37 of 89
(Page | 5)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

       E.      The Dispute Resolution Procedures are fair and reasonable and comply with

applicable law.

       F.      The entry of this Interim Order is in the best interests of the Debtors and their

estates, creditors, and interest holders and all other parties in interest herein; and now therefore it

is HEREBY ORDERED THAT:

       1.      The Motion is GRANTED on an interim basis as set forth herein.

       2.      The Final Hearing on the Motion will be held on _______, 2023 at _____________

(Eastern Time). Objections, if any, that relate to the Motion shall be filed and served so as to be

actually received by the following parties on or before _______________, 2023 at 4:00 p.m.

(Eastern Time): (a) Debtors’ proposed counsel; (b) Paul, Weiss, Rifkind, Wharton & Garrison

LLP, 1285 Avenue of the Americas, New York, New York 10019 (Attn: Andrew N. Rosenberg

(arosenberg@paulweiss.com); Brian S. Hermann (bhermann@paulweiss.com); and Christopher

Hopkins (chopkins@paulweiss.com) and Fox Rothschild LLP, 49 Market Street, Morristown, NJ

07960 (Attn: Howard A. Cohen (hcohen@foxrothschild.com); Joseph J. DiPasquale

(jdipasquale@foxrothschild.com) and Michael R. Herz (mherz@foxrothschild.com), counsel for

the Ad Hoc Secured Noteholder Group; and (c) the United States Trustee for the District of New

Jersey, One Newark Center, Suite 2100, Newark, NJ 07102, Attn: Jeffrey M. Sponder and Lauren

Bielskie. If no objections are filed to the Motion, the Court may enter an order approving the relief

requested in the Motion on a final basis without further notice or hearing.

       3.      To the extent any conflict between this Interim Order and the Sale Guidelines, the

terms of this Interim Order shall control.
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                  Document      Page 38 of 89
(Page | 6)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

I.     Authority to Engage in Sales and Conduct Store Closings.

       4.      The Debtors are authorized, on an interim basis pending the Final Hearing, pursuant

to sections 105(a) and 363(b)(1) of the Bankruptcy Code, to continue, commence, and conduct

Sales and Store Closings at the Closing Stores in accordance with this Interim Order and the Sale

Guidelines, as may be modified by any Side Letters (as defined below) between the Debtors and

the landlords at the Closing Stores.

       5.      The Sale Guidelines are approved in their entirety on an interim basis.

       6.      The Debtors are authorized to discontinue operations at the Closing Stores in

accordance with this Interim Order and the Sale Guidelines.

       7.      All entities that are presently in possession of some or all of the Closing Store

Assets in which the Debtors hold an interest that is or may be subject to this Interim Order hereby

are directed to surrender possession of such Closing Store Assets to the Debtors.

       8.      Neither the Debtors nor any of their officers, employees, or agents shall be required

to obtain the approval of any third party, including (without limitation) any Governmental Unit

(as defined under section 101(27) of the Bankruptcy Code) or landlord, to conduct the Sales and

Store Closings and to take the related actions authorized herein.

       9.      The Debtors are authorized to conduct Sales and internal transfers of

Prescription Assets consistent with their historical practice, in accordance with applicable law.

Each purchaser of Prescription Assets sold pursuant to this Interim Order shall be deemed a good

faith purchaser within the meaning of section 363(m) of the Bankruptcy Code and, as such, shall

be entitled all of the protections afforded by such provision.
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 39 of 89
(Page | 7)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

II.    Conduct of the Sales.

       10.     All newspapers and other advertising media in which the Sales and Store Closings

may be advertised and all landlords and subtenants are directed to accept this Interim Order as

binding authority so as to authorize the Debtors to conduct the Sales and Store Closings, including,

without limitation, to conduct and advertise the sale of the Non-Prescription Assets in the manner

contemplated by and in accordance with this Interim Order and the Sale Guidelines.

       11.     Subject to the Dispute Resolution Procedures provided for in this Interim Order,

the Debtors are hereby authorized to take such actions as may be necessary and appropriate to

conduct the Sales and Store Closings without necessity of further order of this Court as provided

in the Sale Guidelines (subject to any Side Letters), including, but not limited to, advertising a Sale

of Non-Prescription Assets as a “store closing sale”, “sale on everything”, “everything must go”,

“going-out-of-business”, or similar-themed sales as contemplated in the Sale Guidelines through

the posting of signs (including the use of exterior banners at non-enclosed mall closing locations,

and at enclosed mall closing locations to the extent the applicable closing location entrance does

not require entry into the enclosed mall common area), use of signwalkers, A-frames, and other

street signage, as contemplated in the Sale Guidelines.

       12.     Except as expressly provided in the Sale Guidelines, the sale of the Closing Store

Assets shall be conducted by the Debtors, notwithstanding any Contractual Restrictions to the

contrary. Any and all Contractual Restrictions shall not be enforceable in conjunction with the

Store Closings and the Sales. Any breach of any such provisions in these chapter 11 cases in

conjunction with the Store Closings or the Sales shall not constitute a default under a lease or
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 40 of 89
(Page | 8)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

provide a basis to terminate the lease; provided that the Store Closings and Sales are conducted in

accordance with the terms of this Interim Order, any Side Letter, and the Sale Guidelines. The

Debtors and landlords of the Closing Stores are authorized to enter into agreements (“Side

Letters”) between themselves modifying the Sale Guidelines without further order of the Court,

and such Side Letters shall be binding as among the Debtors and any such landlords, provided that

nothing in such Side Letters affects the provisions of this Interim Order. In the event of any

conflict between the Sale Guidelines, any Side Letter, and this Interim Order, subject to paragraph

34 hereof, the terms of such Side Letter shall control. Copies of any Side Letters will be provided

to the U.S. Trustee, the DIP Agent, Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue

of   the   Americas,    New     York,   New     York    10019     (Attn:   Andrew     N.   Rosenberg

(arosenberg@paulweiss.com); Brian S. Hermann (bhermann@paulweiss.com); and Christopher

Hopkins (chopkins@paulweiss.com) and Fox Rothschild LLP, 49 Market Street, Morristown, NJ

07960 (Attn: Howard A. Cohen (hcohen@foxrothschild.com); Joseph J. DiPasquale

(jdipasquale@foxrothschild.com) and Michael R. Herz (mherz@foxrothschild.com), counsel for

the Ad Hoc Secured Noteholder Group; and/or any statutory committee of unsecured creditors at

least two (2) business days’ prior to execution of any Side Letters (which period may be shortened

or waived if so consented to by each of the DIP Agent, Required Consenting Noteholders (as

defined in the Restructuring Support Agreement), and any statutory committee of unsecured

creditors)].

        13.    Except as expressly provided for herein or in the Sale Guidelines, no person or

entity, including, but not limited to, any landlord, subtenant, licensor, service providers, utilities,
Case 23-18993-MBK          Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27               Desc Main
                                    Document      Page 41 of 89
(Page | 9)
Debtors:                RITE AID CORPORATION, et al.
Case No.                23-18993 (MBK)
Caption of Order:       Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                        Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                        Encumbrances, and (II) Granting Related Relief

or creditors, shall take any action to directly or indirectly prevent, interfere with, or otherwise

hinder consummation of the Store Closings, the Sales, or the sale of the Closing Store Assets, or

the advertising and promotion (including the posting of signs and exterior banners or the use of

sign-walkers) of such sales, as applicable, and all such parties and persons and entities of every

nature and description, including, but not limited to, any landlord, subtenant, licensor, service

providers, utilities, and creditors and all those acting for or on behalf of such parties, are prohibited

and enjoined from (a) interfering in any way with, obstructing, or otherwise impeding, the conduct

of the Store Closings and the Sales, and/or (b) instituting any action or proceeding in any court

(other than in this Court) or administrative body seeking an order or judgment against, among

others, the Debtors or the landlords at the closing locations that might in any way directly or

indirectly obstruct or otherwise interfere with or adversely affect the conduct of the Store Closings,

the Sales, or the sale of the Closing Store Assets or other liquidation sales at any Closing Stores

and/or seek to recover damages for breach(es) of covenants or provisions in any lease, sublease,

license, or contract based upon any relief authorized herein.

        14.     The Debtors are directed to remit all taxes arising from the Sales to the applicable

Governmental Units as and when due, provided that, in the case of a bona fide dispute, the Debtors

are only directed to pay such taxes upon the resolution of such dispute, if and to the extent that the

dispute is decided in favor of the applicable Governmental Unit. For the avoidance of doubt, sales

taxes collected and held in trust by the Debtors shall not be used to pay any creditor or any other

party, other than the applicable Governmental Unit for which the sales taxes are collected. This

Interim Order does not enjoin, suspend, or restrain the assessment, levy, or collection of any tax
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                   Document      Page 42 of 89
(Page | 10)
Debtors:                RITE AID CORPORATION, et al.
Case No.                23-18993 (MBK)
Caption of Order:       Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                        Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                        Encumbrances, and (II) Granting Related Relief

under state or federal law, and does not constitute a declaratory judgment with respect to any

party’s liability for taxes under state or federal law.

        15.     Pursuant to section 363(f) of the Bankruptcy Code, the Debtors are authorized to

sell the Closing Store Assets, and all sales of Closing Store Assets shall be free and clear of any

and all liens, claims, encumbrances, and other interests; provided, however, that any such liens,

claims, encumbrances, and other interests shall attach to the proceeds of the sale of the Closing

Store Assets with the same validity, in the amount, with the same priority as, and to the same extent

that any such liens, claims, and encumbrances have with respect to the Closing Store Assets,

subject to any claims and defenses that the Debtors may possess with respect thereto.

        16.     The Debtors are authorized and empowered to transfer Closing Store Assets among

and into the Debtors’ store locations in accordance with the Sale Guidelines, as applicable. The

Debtors are authorized to sell the Debtors’ Non-Prescription Assets and abandon the same, in each

case, as provided for and in accordance with the terms of the Sale Guidelines.

        17.     Notwithstanding anything to the contrary in this Interim Order, the Debtors shall

not sell or abandon any property that the Debtors know is not owned by the Debtors; provided that

the Debtors will either (a) provide for the return of such property to the Debtors’ headquarters or

(b) return such property to the applicable lessor, or other owner of the property; provided, however,

that the Debtors may abandon property owned by the Landlord at the applicable Closing Store.

        18.     Neither the Sale Guidelines nor this Interim Order authorize the Debtors to transfer

or sell to any other party the personal identifying information (which means information that alone

or in conjunction with other information identifies an individual, including but not limited to an
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27           Desc Main
                                   Document      Page 43 of 89
(Page | 11)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

individual’s first name (or initial) and last name, physical address, electronic address, telephone

number, social security number, date of birth, government-issued identification number, account

number and credit or debit card number) (“PII”) of any customers unless such sale or transfer is

permitted by the Debtors’ privacy policy and applicable state or federal privacy and/or identity

theft prevention laws and rules (collectively, the “Applicable Privacy Laws”). The foregoing shall

not limit the use of the Debtors’ customer lists and mailing lists for purposes of advertising and

promoting the Sales.

         19.   Appointment of a consumer privacy ombudsman is not required with respect to the

Sales.

         20.   The Debtors shall remove or cause to be removed any confidential and/or PII in

any of the Debtors hardware, software, computers or cash registers or similar equipment which are

to be sold or abandoned so as to render the PII unreadable or undecipherable.

         21.   Nothing herein shall limit the Debtors’ right to suspend, postpone, or discontinue a

Sale at a Closing Store on notice to affected parties.

         22.   Nothing herein is intended to affect any rights of any applicable Government Unit

to enforce any law affecting the Debtors’ conduct of any store closing sale that occurred before

the Petition Date.

III.     Procedures Relating to Additional Closing Stores.

         23.   To the extent that the Debtors seek to conduct Sales at any Additional Closing

Stores, the Sale Guidelines and this Interim Order shall apply to each such Additional Closing

Store (and the corresponding Additional Store Closing(s)).
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                   Document      Page 44 of 89
(Page | 12)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

       24.     Except with respect to Sales of Prescription Assets, before conducting the Sales at

any Additional Closing Store, the Debtors will file with the Court a list of each such Additional

Closing Store (each, an “Additional Closing Store List”) and serve a notice of their intent to conduct

the applicable Sales at the Additional Closing Store on the Dispute Notice Parties, including

applicable landlords (collectively, the “Additional Closing Store Landlords”), and other interested

parties by email (to the extent available to the Debtors) or overnight mail within five business days

of filing the Additional Store Closing List or as soon as reasonably practicable thereafter. With

respect to the Dispute Notice Parties, including the Additional Closing Store Landlords, the

Debtors will mail, if applicable, such notice to the notice address set forth in the lease for such

Additional Closing Store (or at the last known address available to the Debtors).

       25.     The relevant Additional Closing Store Landlords and any other interested parties

shall have ten days after service of the applicable Additional Closing Store List to object to the

application of this Interim Order to the Additional Closing Store(s) included in such Additional

Closing Store List. If no timely objections are filed with respect to the application of this Interim

Order to an Additional Closing Store, the Debtors shall be authorized to proceed with conducting

the Sales at the Additional Closing Stores (and any corresponding Additional Store Closing(s)) in

accordance with this Interim Order and the Sale Guidelines. If any objections are filed with respect

to the application of this Interim Order to an Additional Closing Store and such objections are not

resolved, the objections and the application of this Interim Order to the Additional Closing Store

will be considered by the Court at the next regularly scheduled omnibus hearing, subject to the

rights of any party to seek relief on an emergency basis on shortened notice, to the extent necessary.
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 45 of 89
(Page | 13)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

IV.    Dispute Resolution Procedures with Governmental Units.

       26.     Nothing in this Interim Order, the Sale Guidelines, or any Side Letter releases,

nullifies, or enjoins the enforcement of any liability to a Governmental Unit under environmental

laws or regulations (or any associated liabilities for penalties, damages, cost recovery, or injunctive

relief) to which any entity would be subject as the owner, lessor, lessee, or operator of the property

after the date of entry of this Interim Order. Nothing contained in this Interim Order, the Sale

Guidelines, or any Side Letter shall in any way: (a) diminish the obligation of any entity to comply

with environmental laws; or (b) diminish the obligations of the Debtors to comply with

environmental laws consistent with their rights and obligations as debtors in possession under the

Bankruptcy Code. The Store Closings and the Sales shall not be exempt from laws of general

applicability, including, without limitation, public health and safety, criminal, tax, (including, but

not limited to, the collection of sales taxes), labor, employment, environmental, antitrust, fair

competition, traffic and consumer protection laws, including consumer laws regulating deceptive

practices and false advertising, consumer protection, the sale of gift certificates, layaway

programs, return of goods, express or implied warranties of goods, and “weights and measures”

regulation and monitoring (collectively, “General Laws”). Nothing in this Interim Order, the Sale

Guidelines, or any Side Letter shall alter or affect obligations to comply with all applicable federal

safety laws and regulations.      Nothing in this Interim Order shall be deemed to bar any

Governmental Unit (as such term is defined in section 101(27) of the Bankruptcy Code) from

enforcing General Laws in the applicable non-bankruptcy forum, subject to the Debtors’ rights to

assert in that forum or before this Court, that any such laws are not in fact General Laws or that
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                  Document      Page 46 of 89
(Page | 14)
Debtors:              RITE AID CORPORATION, et al.
Case No.              23-18993 (MBK)
Caption of Order:     Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                      Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                      Encumbrances, and (II) Granting Related Relief

such enforcement is impermissible under the Bankruptcy Code or this Interim Order.

Notwithstanding any other provision in this Interim Order, no party waives any rights to argue any

position with respect to whether the conduct was in compliance with this Interim Order and/or any

applicable law, or that enforcement of such applicable law is preempted by the Bankruptcy Code.

Nothing in this Interim Order shall be deemed to have made any rulings on any such issues.

       27.     To the extent that the sale of Closing Store Assets is subject to any Liquidation Sale

Laws, the following provisions of this paragraph 27 shall apply and control over any Side Letters:

       i.      Provided that the Sales are conducted in accordance with this Interim Order and the
               Sale Guidelines, the Debtors and the Debtors’ landlords shall be deemed to be in
               compliance with any requirements of all county, parish, municipal, or other local
               government (collectively, “Local”) and state Liquidation Sale Laws that would
               otherwise apply to the Store Closings or the Sales; provided, that the term
               “Liquidation Sale Laws” shall not include any public health or safety laws of any
               state (collectively, “Safety Laws”), and the Debtors shall continue to be required to
               comply, as applicable, with such Safety Laws and General Laws, subject to any
               applicable provision of the Bankruptcy Code and federal law, and nothing in this
               Interim Order shall be deemed to bar Governmental Units (as defined in section
               101(27) of the Bankruptcy Code) or public officials from enforcing Safety Laws or
               General Laws.

       ii.     Within five business days after entry of this Interim Order, or as soon as reasonably
               practicable thereafter, the Debtors will serve by first-class mail, copies of this
               Interim Order, the proposed Final Order, and the Sale Guidelines on the following:
               (a) the Attorney General’s office for each state where the Sales are being held;
               (b) the Board of Pharmacy’s office for each state where a Closing Store is located;
               (c) the county consumer protection agency or similar agency for each county where
               the Sales are being held; (d) the division of consumer protection for each state
               where the Sales are being held; (e) the landlords for the Closing Store; and (f) any
               subtenants (if any) under the leases with respect to the Closing Stores
               (collectively, the “Dispute Notice Parties”).

       iii.    With respect to any Additional Closing Stores, within five business days after filing
               any Additional Closing Store List (as defined below) with the Court, or as soon as
               reasonably practicable thereafter, the Debtors will serve copies of this Interim
Case 23-18993-MBK       Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27                Desc Main
                                 Document      Page 47 of 89
(Page | 15)
Debtors:              RITE AID CORPORATION, et al.
Case No.              23-18993 (MBK)
Caption of Order:     Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                      Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                      Encumbrances, and (II) Granting Related Relief

              Order, the proposed (or entered) Final Order, and the Sale Guidelines on the
              applicable Dispute Notice Parties.

       iv.    To the extent that there is a dispute arising from or relating to the Sales, this Interim
              Order, or the Sale Guidelines, which dispute relates to any Liquidation Sale Laws
              (a “Reserved Dispute”), the Court shall retain exclusive jurisdiction to resolve the
              Reserved Dispute. Within ten days following entry of this Interim Order, or service
              of an Additional Closing Store List, any Governmental Unit may assert that a
              Reserved Dispute exists by serving a notice (the “Dispute Notice”) explaining the
              nature of the dispute on: (a) Kirkland & Ellis LLP, 601 Lexington Avenue, New
              York, New York 10022, Attn: Joshua A. Sussberg, P.C., Aparna Yenamandra,
              P.C.; Ross J. Fiedler, and Zachary R. Manning; (b) Cole Schotz, P.C., Court Plaza
              North, 25 Main Street, Hackensack, New Jersey 07601, Attn: Michael D. Sirota,
              Warren A. Usatine, Felice R. Yudkin, and Seth Van Aalten; (c) Paul, Weiss,
              Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New
              York 10019 (Attn: Andrew N. Rosenberg (arosenberg@paulweiss.com); Brian S.
              Hermann        (bhermann@paulweiss.com);            and      Christopher        Hopkins
              (chopkins@paulweiss.com) and Fox Rothschild LLP, 49 Market Street,
              Morristown, NJ 07960 (Attn: Howard A. Cohen (hcohen@foxrothschild.com);
              Joseph J. DiPasquale (jdipasquale@foxrothschild.com) and Michael R. Herz
              (mherz@foxrothschild.com), counsel for the Ad Hoc Secured Noteholder Group;
              (d) the United States Trustee for the District of New Jersey, One Newark Center,
              Suite 2100, Newark, NJ 07102, Attn: Jeffrey M. Sponder and Lauren Bielskie;
              (e) Choate, Hall & Stewart LLP, Two International Place, Boston, MA 02110
              (Attn: John F. Ventola (jventola@choate.com), Jonathan D. Marshall
              (jmarshall@choate.com) and Mark D. Silva (msilva@choate.com) and Greenberg
              Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park NJ 07932 (Attn: Alan
              J. Brody (brodya@gtlaw.com), Oscar N. Pinkas (pinkaso@gtlaw.com))
              (the “Counsel to the DIP Agents”) (f) counsel to any statutory committee appointed
              in these chapter 11 cases; and (g) the affected landlord or its known counsel. If the
              Debtors and the Governmental Unit are unable to resolve the Reserved Dispute
              within fifteen days after service of the Dispute Notice, the Governmental Unit may
              file a motion with the Court requesting that the Court resolve the Reserved Dispute
              (a “Dispute Resolution Motion”).

       v.     If a Dispute Resolution Motion is filed, nothing in this Interim Order shall preclude
              the Debtors, a landlord, or any other interested party from asserting (a) that the
              provisions of any Liquidation Sale Laws are preempted by the Bankruptcy Code,
              or (b) that neither the terms of this Interim Order, nor the conduct of the Debtors
              pursuant to this Interim Order, violates such Liquidation Sale Laws. The filing of
              a Dispute Resolution Motion as set forth herein shall not be deemed to affect the
              finality of this Interim Order or to limit or interfere with the Debtors’ ability to
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                  Document      Page 48 of 89
(Page | 16)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

               conduct or to continue to conduct the Sales pursuant to this Interim Order absent
               further order of the Court. Upon the entry of this Interim Order, the Court expressly
               authorizes the Debtors to conduct the Sales pursuant to the terms of the Interim
               Order and the Sale Guidelines (as may be modified by Side Letters) and to take all
               actions reasonably related thereto or arising in connection therewith. The
               Governmental Unit will be entitled to assert any jurisdictional, procedural, or
               substantive arguments it wishes with respect to the requirements of its Liquidation
               Sale Laws or the lack of any preemption of such Liquidation Sale Laws by the
               Bankruptcy Code. Nothing in this Interim Order will constitute a ruling with
               respect to any issues to be raised in any Dispute Resolution Motion.

       vi.     If, at any time, a dispute arises between the Debtors and a Governmental Unit as to
               whether a particular law is a Liquidation Sale Law, and subject to any provisions
               contained in this Interim Order related to the Liquidation Sale Laws, then any party
               to that dispute may utilize the provisions of subparagraphs (iv) and (v) above by
               serving a notice to the other party and proceeding thereunder in accordance with
               those paragraphs. Any determination with respect to whether a particular law is a
               Liquidation Sale Law shall be made de novo.

       28.     Subject to paragraphs 26 and 27 above, each and every federal, state, or local

agency, department, or Governmental Unit with regulatory authority over the Store Closings or

the Sales and all newspapers and other advertising media in which the Sales are advertised shall

consider this Interim Order as binding authority that no further approval, license, or permit of any

Governmental Unit shall be required, nor shall the Debtors be required to post any bond, to conduct

the Sales.

       29.     Provided that the Store Closings and the Sales are conducted in accordance with the

terms of this Interim Order and the Sale Guidelines (as may be modified by Side Letters) and in

light of the provisions in the laws that exempt court-ordered sales from their provisions, the

Debtors shall be presumed to be in compliance with any Liquidation Sale Laws and are authorized

to conduct the Store Closings and the Sales in accordance with the terms of this Interim Order and
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 49 of 89
(Page | 17)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

the Sale Guidelines (as may be modified by Side Letters) without the necessity of further showing

compliance with any such Liquidation Sale Laws.

       30.     Nothing in this Interim Order, the Sale Guidelines, or any Side Letter releases,

nullifies, or enjoins the enforcement of any liability to a Governmental Unit under environmental

laws or regulations (or any associated liabilities for penalties, damages, cost recovery, or injunctive

relief) to which any entity would be subject as the owner, lessor, lessee, or operator of the property

after the date of entry of this Interim Order. Nothing contained in this Interim Order, the Sale

Guidelines, or any Side Letter shall in any way: (a) diminish the obligation of any entity to comply

with environmental laws; or (b) diminish the obligations of the Debtors to comply with

environmental laws consistent with their rights and obligations as debtors in possession under the

Bankruptcy Code.

V.     Other Provisions.

       31.     To the extent the Debtors are subject to any Fast Pay Laws in connection with the

Store Closings, the Debtors shall be presumed to be in compliance with such laws to the extent, in

applicable states, such payroll payments are made by the later of: (a) the Debtors’ next regularly

scheduled payroll; and (b) seven calendar days following the termination date of the relevant

employee, and in all such cases consistent with, and subject to, any previous orders of this Court

regarding payment of same.

       32.     Notwithstanding the relief granted in this Interim Order and any actions taken

pursuant to such relief, nothing in this Interim Order shall be deemed: (a) an admission as to the

validity of any particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                   Document      Page 50 of 89
(Page | 18)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

any particular claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication or admission that any particular claim is of a type specified or defined in this

Interim Order or the Motion; (e) an authorization to assume any agreement, contract, or lease,

pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’, or any

other party in interest’s, rights under the Bankruptcy Code or any other applicable law; or (g) a

concession by the Debtors that any liens (contractual, common law, statutory, or otherwise) that

may be satisfied pursuant to the Motion or this Interim Order are valid, and the rights of all parties

are expressly reserved to contest the extent, validity, or perfection or seek avoidance of all such

liens. Any payment made pursuant to this Interim Order is not intended and should not be

construed as an admission as to the validity of any particular claim or a waiver of the Debtors’

rights to subsequently dispute such claim.

       33.     Notwithstanding anything to the contrary contained in the Motion or this Interim

Order, any payment to be made, obligation incurred, or relief or authorization granted hereunder

shall not be inconsistent with, and shall be subject to and in compliance with, the requirements

imposed on the Debtors under the terms of each interim and final order entered by the Court in

respect of the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors

To (A) Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens and

Superpriority Administrative Expense Claims, (III) Granting Adequate Protection, (IV) Modifying

the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related Relief, filed

substantially contemporaneously herewith (such orders, the “DIP Orders”), including compliance

with any budget or cash flow forecast in connection therewith and any other terms and conditions
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                  Document      Page 51 of 89
(Page | 19)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

thereof. Nothing herein is intended to modify, alter, or waive, in any way, any terms, provisions,

requirements, or restrictions of the DIP Orders and to the extent of any conflict or inconsistency

between this Interim Order and the DIP Orders, the DIP Orders shall govern and control.

       34.     On a confidential basis and upon the written (including email) request of the U.S.

Trustee (which request has been made), any official committee of unsecured creditors appointed

in these chapter 11 cases, or the advisors to the Ad Hoc Secured Noteholder Group, the Debtors

shall provide copies of periodic reports on a monthly basis concerning the Sales and Store Closings

that are prepared by the Debtors or their professionals; provided, however, that the foregoing shall

not require the Debtors or their professionals to prepare or undertake to prepare any additional or

new reports other than the weekly Sales and Store Closing reports.

       35.     The requirements set forth in Bankruptcy Rule 6003(b) are satisfied by the contents

of the Motion or otherwise deemed waived.

       36.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Interim Order in accordance with the Motion.

       37.     Notwithstanding any Bankruptcy Rule to the contrary, this Interim Order shall be

effective and enforceable immediately upon entry hereof.

       38.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                   Document      Page 52 of 89
(Page | 20)
Debtors:                RITE AID CORPORATION, et al.
Case No.                23-18993 (MBK)
Caption of Order:       Interim Order (I) Authorizing and Approving the Conduct of Store Closing
                        Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                        Encumbrances, and (II) Granting Related Relief

       39.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

       40.     The Debtors shall serve a copy of this Interim Order and the Motion on all parties

required to receive such service pursuant to Local Rule 9013-5(f) within two business days after

the entry of this Interim Order.

       41.     Any party may move for modification of this Interim Order in accordance with

Local Rule 9013-5(e).

       42.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order

       43.     This Court shall retain jurisdiction with regard to all issues or disputes relating to

this Interim Order, including, but not limited to: (a) any claim or issue relating to any efforts by

any party or person to prohibit, restrict or in any way limit banner and sign-walker advertising,

including with respect to any allegations that such advertising is not being conducted in a safe,

professional, and non-deceptive manner; (b) any claim of the Debtors and/or the landlords for

protection from interference with the Store Closings or Sales; (c) any other disputes related to the

Store Closings or Sales; and (d) protect the Debtors against any assertions of any liens, claims,

encumbrances, and other interests. No such parties or person shall take any action in respect of

the Debtors, the landlords, the Store Closings, or the Sales until this Court has resolved such

dispute. This Court shall hear the request of such parties or persons with respect to any such

disputes on an expedited basis, as may be appropriate under the circumstances.
Case 23-18993-MBK   Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27   Desc Main
                             Document      Page 53 of 89



                                     Schedule 1

                                Initial Closing Stores
Case 23-18993-MBK          Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27         Desc Main
                                    Document      Page 54 of 89

No.        Store No.               Property Address             City           State       Zip Code
       1            213 2715 PARADE STREET              ERIE              PA            16504
       2            225 5612 N. FIFTH STREET            PHILADELPHIA      PA            19120
       3            365 728 EAST PULASKI HIGHWAY        ELKTON            MD            21921
       4            374 5624 BALTIMORE NATIONAL PK      BALTIMORE         MD            21228
       5            385 5804 RITCHIE HIGHWAY            BALTIMORE         MD            21225
       6            443 350 MAIN STREET                 PENNSBURG         PA            18073
       7            553 4011 COTTMAN AVENUE             PHILADELPHIA      PA            19135
       8            558 1441 OLD YORK ROAD              ABINGTON          PA            19001
       9            761 2887 HARLEM ROAD                CHEEKTOWAGA       NY            14225
      10            803 300 MARKET STREET               JOHNSTOWN         PA            15901
      11            850 8716 NEW FALLS ROAD             LEVITTOWN         PA            19054
      12            852 11750 BUSTLETON AVENUE          PHILADELPHIA      PA            19116
      13            857 169 WEST LANCASTER AVENUE       ARDMORE           PA            19003
      14          1070 420 DANIEL WEBSTER HIGHWAY       MERRIMACK         NH            03054
      15          1288 1315 EAST WASHINGTON LANE        PHILADELPHIA      PA            19138
      16          1524 924 WEST MAIN STREET             FREMONT           MI            49412
      17          1527 507 N LAFAYETTE STREET           GREENVILLE        MI            48838
      18          1530 715 SOUTH CLINTON STREET         GRAND LEDGE       MI            48837
      19          1685 801 WYOMING AVENUE STE 9         WEST PITTSTON     PA            18643
      20          1704 657 HEACOCK ROAD                 YARDLEY           PA            19067
      21          1767 2801 W. DAUPHIN STREET           PHILADELPHIA      PA            19132
      22          1796 4057 ASBURY AVE STE 8            TINTON FALLS      NJ            07753
      23          1854 1709 LIBERTY STREET              ERIE              PA            16502
      24          1859 7501 RITCHIE HIGHWAY             GLEN BURNIE       MD            21061
      25          1955 674 ROUTE 196, STE 14            TOBYHANNA         PA            18466
      26          1970 431 HALEDON AVENUE               HALEDON           NJ            07508
      27          1977 35 MILL ROAD                     IRVINGTON         NJ            07111
      28          2264 2722 WEST 9TH STREET             CHESTER           PA            19013
      29          2390 3129 LINCOLN WAY EAST            MASSILLON         OH            44646
      30          2442 950 EAST BALTIMORE PIKE          YEADON            PA            19050
      31          2521 1636 ROUTE 38 SUITE 49           LUMBERTON         NJ            08048
      32          2629 120 SOUTH MAIN STREET            NEW CARLISLE      OH            45344
      33          2709 8235 STENTON AVENUE              PHILADELPHIA      PA            19150
      34          3084 146 WOODMAN DRIVE                DAYTON            OH            45431
      35          3117 2701 MARKET STREET               YOUNGSTOWN        OH            44507
      36          3247 401 WEST NORTH STREET            SPRINGFIELD       OH            45504
      37          3377 7941 OXFORD AVENUE               PHILADELPHIA      PA            19111
      38          3457 136 NORTH 63RD STREET            PHILADELPHIA      PA            19139
      39          3477 773 HAMILTON STREET              SOMERSET          NJ            08873
      40          3681 5440 LANSDOWNE AVENUE            PHILADELPHIA      PA            19131
      41          3781 7967 BALTIMORE ANNAPOLIS BLVD    GLEN BURNIE       MD            21060
      42          3880 15250 24 MILE ROAD               MACOMB            MI            48042
      43          3958 2002 AVENUE U                    BROOKLYN          NY            11229
      44          4045 1434 S BLACK HORSE PIKE          WILLIAMSTOWN      NJ            08094
      45          4234 102 NORTH CENTERVILLE ROAD       STURGIS           MI            49091
      46          4300 47300 PONTIAC TRAIL              WIXOM             MI            48393
      47          4318 35250 SOUTH GRATIOT AVENUE       CLINTON TWP.      MI            48035
      48          4321 51037 VAN DYKE AVENUE            SHELBY TOWNSHIP   MI            48316
      49          4350 3100 EAST MICHIGAN AVENUE        JACKSON           MI            49202
      50          4366 9155 TELEGRAPH ROAD              TAYLOR            MI            48180
      51          4407 1243 U.S. 31 SOUTH               MANISTEE          MI            49660
      52          4466 29447 FORD ROAD                  GARDEN CITY       MI            48135



                                               1 of 3
Case 23-18993-MBK      Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27          Desc Main
                                Document      Page 55 of 89

No.     Store No.             Property Address              City            State       Zip Code
   53          4504 2838 EAST COURT STREET          FLINT              MI            48506
   54          4526 1900 EAST 8 MILE ROAD           DETROIT            MI            48234
   55          4537 36485 GARFIELD ROAD             CLINTON TWP.       MI            48035
   56          4548 25922 MIDDLEBELT ROAD           FARMINGTON HILLS   MI            48336
   57          4552 2 WHITNEY AVENUE                FLORAL PARK        NY            11001
   58          4577 109 NORTH WHITTEMORE STREET     ST. JOHNS          MI            48879
   59          4616 208 EAST CENTRAL AVENUE         TITUSVILLE         PA            16354
   60          4706 833 NORTH BATTLEFIELD BLVD      CHESAPEAKE         VA            23320
   61          4761 1124 NORTH BALLENGER HWY.       FLINT              MI            48504
   62          4767 230 SOUTH MAIN STREET           BELLEFONTAINE      OH            43311
   63          4770 2701 SOUTH CEDAR STREET         LANSING            MI            48910
   64          4868 71-18 KISSENA BOULEVARD         FLUSHING           NY            11367
   65          4981 3131 HEMPSTEAD TURNPIKE         LEVITTOWN          NY            11756
   66          5201 601 SOUTH GRADY WAY,STE.P       RENTON             WA            98057
   67          5204 3202 132ND STREET, S.E.         MILL CREEK         WA            98012
   68          5227 110 SW 148TH STREET             BURIEN             WA            98166
   69          5231 10103 EVERGREEN WAY             EVERETT            WA            98204
   70          5280 8230 MARTIN WAY EAST            LACEY              WA            98516
   71          5347 2440 SE CESAR E CHAVEZ BLVD     PORTLAND           OR            97214
   72          5412 1600 NORTH MAIN STREET          MERIDIAN           ID            83642
   73          5417 5005 WEST OVERLAND ROAD         BOISE              ID            83705
   74          5448 4044 EAGLE ROCK BOULEVARD       LOS ANGELES        CA            90065
   75          5457 4046 SOUTH CENTINELA AVENUE     LOS ANGELES        CA            90066
   76          5466 7859 FIRESTONE BOULEVARD        DOWNEY             CA            90241
   77          5521 4402 ATLANTIC AVENUE            LONG BEACH         CA            90807
   78          5571 935 NORTH HOLLYWOOD WAY         BURBANK            CA            91505
   79          5585 139 NORTH GRAND AVENUE          COVINA             CA            91724
   80          5593 13905 AMAR ROAD                 LA PUENTE          CA            91746
   81          5611 920 EAST VALLEY BOULEVARD       ALHAMBRA           CA            91801
   82          5635 3813 PLAZA DRIVE                OCEANSIDE          CA            92056
   83          5638 1670 MAIN STREET                RAMONA             CA            92065
   84          5657 6505 MISSION GORGE ROAD         SAN DIEGO          CA            92120
   85          5661 8985 MIRA MESA BOULEVARD        SAN DIEGO          CA            92126
   86          5730 25906 NEWPORT ROAD              MENIFEE            CA            92584
   87          5735 24829 DEL PRADO                 DANA POINT         CA            92629
   88          5753 30222 CROWN VALLEY PARKWAY      LAGUNA NIGUEL      CA            92677
   89          5757 19701 YORBA LINDA BOULEVARD     YORBA LINDA        CA            92886
   90          5760 1406 WEST EDINGER AVENUE        SANTA ANA          CA            92704
   91          5772 2738 EAST THOMPSON BLVD.        VENTURA            CA            93003
   92          5780 720 NORTH VENTURA ROAD          OXNARD             CA            93030
   93          5967 20572 HOMESTEAD ROAD            CUPERTINO          CA            95014
   94          5976 2620 EL CAMINO REAL             SANTA CLARA        CA            95051
   95          5979 901 SOQUEL AVENUE               SANTA CRUZ         CA            95062
   96          6001 571 BELLEVUE ROAD               ATWATER            CA            95301
   97          6045 5409 SUNRISE BOULEVARD          CITRUS HEIGHTS     CA            95610
   98          6080 1309 FULTON AVENUE              SACRAMENTO         CA            95825
   99          6213 3029 HARBOR BOULEVARD           COSTA MESA         CA            92626
  100          6288 959 CRENSHAW BOULEVARD          LOS ANGELES        CA            90019
  101          6318 3000 SOUTH ARCHIBALD AVENUE     ONTARIO            CA            91761
  102          6333 15800 IMPERIAL HIGHWAY          LA MIRADA          CA            90638
  103          6521 22201 MERIDIAN AVENUE E         GRAHAM             WA            98338
  104          6717 8509 IRVINE CENTER DRIVE        IRVINE             CA            92618



                                           2 of 3
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                  Document      Page 56 of 89

No.      Store No.               Property Address               City             State       Zip Code
   105           6769 499 ALVARADO STREET              MONTEREY             CA            93940
   106           6908 9600 15TH AVE SW                 SEATTLE              WA            98106
   107           6915 2518 196TH ST SW                 LYNNWOOD             WA            98036
   108           6920 3620 FACTORIA BLVD SE            BELLEVUE             WA            98006
   109           6927 11919 NE 8TH STREET              BELLEVUE             WA            98005
   110           6952 7370 170TH AVE NE                REDMOND              WA            98052
   111           7827 1080 S WEST END BLVD             QUAKERTOWN           PA            18951
   112          10092 80 EAST MAIN STREET              WEBSTER              MA            01570
   113          10382 289 GREENWOOD AVE.               BETHEL               CT            06801
   114          10415 3 MARSHALL HILL ROAD             WEST MILFORD         NJ            07480
   115          10449 210 BRIDGETON PIKE               MANTUA               NJ            08051
   116          10456 108 SWEDESBORO ROAD SUITE 20     MULLICA HILL         NJ            08062
   117          10505 2370 ROUTE 33                    ROBBINSVILLE         NJ            08691
   118          10514 1726 ROUTE 37 EAST               TOMS RIVER           NJ            08753
   119          10517 86 B LACEY ROAD                  WHITING              NJ            08759
   120          10586 2981 OCEAN AVENUE                BROOKLYN             NY            11235
   121          10619 3199 LONG BEACH ROAD             OCEANSIDE            NY            11572
   122          10620 198 WEST MERRICK ROAD            VALLEY STREAM        NY            11580
   123          10626 836 SUNRISE HIGHWAY              BAY SHORE            NY            11706
   124          10628 2784 SUNRISE HIGHWAY             BELLMORE             NY            11710
   125          10633 901 MERRICK ROAD                 COPIAGUE             NY            11726
   126          10635 577 LARKFIELD ROAD               EAST NORTHPORT       NY            11731
   127          10642 695 EAST JERICHO TURNPIKE        HUNTINGTON STATION   NY            11746
   128          10650 700-43 PATCHOGUE-YAPHANK ROAD    MEDFORD              NY            11763
   129          10655 273 PINE HOLLOW ROAD             OYSTER BAY           NY            11771
   130          10657 397 SUNRISE HIGHWAY              WEST PATCHOGUE       NY            11772
   131          10658 593 OLD TOWN RD.                 PORT JEFF STATION    NY            11776
   132          10663 65 ROUTE 111                     SMITHTOWN            NY            11787
   133          10828 2453 ELMWOOD AVENUE              KENMORE              NY            14217
   134          10868 1567 PENFIELD ROAD               ROCHESTER            NY            14625
   135          10900 700 STEVENSON BLVD.              NEW KENSINGTON       PA            15068
   136          10901 351 BRIGHTON AVENUE              ROCHESTER            PA            15074
   137          10906 5235 LIBRARY ROAD                BETHEL PARK          PA            15102
   138          10908 5990 UNIVERSITY BLVD STE30       MOON TOWNSHIP        PA            15108
   139          10943 2501 SAW MILL RUN BLVD           PITTSBURGH           PA            15234
   140          10949 5410 KEEPORT DRIVE               PITTSBURGH           PA            15236
   141          10967 6090 ROUTE 30                    GREENSBURG           PA            15601
   142          10974 4830 WILLIAM PENN HIGHWAY        EXPORT               PA            15632
   143          10991 1730 WILMINGTON ROAD             NEW CASTLE           PA            16105
   144          11042 2178 W. UNION BLVD.              BETHLEHEM            PA            18018
   145          11053 1628 SOUTH FOURTH STREET         ALLENTOWN            PA            18103
   146          11134 2401 EAST VENANGO STREET         PHILADELPHIA         PA            19134
   147          11135 6327-43 TORRESDALE AVENUE        PHILADELPHIA         PA            19135
   148          11160 200 W. RIDGE AVENUE STE 112      CONSHOHOCKEN         PA            19428
   149          11182 25 CHESTNUT HILL PLAZA           NEWARK               DE            19713
   150          11188 3209 KIRKWOOD HIGHWAY            WILMINGTON           DE            19808
   151          11208 5 BEL AIR SOUTH PKY, SUITE1347   BEL AIR              MD            21015
   152          11255 1458 MOUNT PLEASANT ROAD         CHESAPEAKE           VA            23322
   153          12999 301 EISENHOWER DRIVE             HANOVER              PA            17331
   154          17783 7036 WERTZVILLE ROAD             MECHANICSBURG        PA            17050




                                              3 of 3
Case 23-18993-MBK   Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27   Desc Main
                             Document      Page 57 of 89



                                     Schedule 2

                                   Sale Guidelines




                                         22
Case 23-18993-MBK             Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                       Document      Page 58 of 89



                                               Sale Guidelines 1

1.       The Sales shall be conducted so that the Closing Stores in which sales are to occur will
         remain open no longer than during the normal hours of operation or such hours as otherwise
         provided for in the respective leases for the Closing Stores.

2.       The Sales shall be conducted in accordance with applicable state and local “Blue Laws,”
         where applicable, so that no Sale shall be conducted on Sunday unless the Debtors had
         been operating such Closing Store on a Sunday prior to the commencement of the Sales.

3.       On “shopping center” property, the Debtors shall not distribute handbills, leaflets or other
         written materials to customers outside of any Closing Stores’ premises, unless permitted
         by the lease or if distribution is customary in the “shopping center” in which such Closing
         Store is located; provided that the Debtors may solicit customers in the Closing Stores
         themselves. On “shopping center” property, the Debtors shall not use any flashing lights
         or amplified sound to advertise the Sales or solicit customers, except as permitted under
         the applicable lease or agreed to by the landlord.

4.       At the conclusion of the Sale, the Debtors shall vacate the Closing Stores; provided that
         the Debtor may abandon any Non-Prescription Assets not sold in the Sales at the
         conclusion of the Sales (the “Termination Date”), without cost or liability of any kind to
         the Debtors. The Debtors shall notify the Counsel to the DIP Agents, the advisors to the
         Ad Hoc Secured Noteholder Group, and the landlord of its intention to abandon any
         Non-Prescription Assets at least two (2) days prior to the Termination Date. The Debtors
         will have the option to remove the Non-Prescription Assets, at their own cost prior to the
         Termination Date. Any abandoned Non-Prescription Assets left in a Closing Store after a
         lease is rejected shall be deemed abandoned to the landlord having a right to dispose of the
         same as the landlord chooses without any liability whatsoever on the part of the landlord
         to any party and without waiver of any damage claims against the Debtors. For the
         avoidance of doubt, as of the Termination Date, the Debtors may abandon, in place and
         without further responsibility or liability of any kind, any Non-Prescription Assets.

5.       The Debtors may advertise the Sales as “store closing”, “sale on everything”, “everything
         must go”, “everything on sale”, “going-out-of-business” or similar-themed sales. The
         Debtors may also have a “countdown to closing” sign prominently displayed in a manner
         consistent with these Sale Guidelines. All signs, banners, ads and other advertising
         material, promotions, and campaigns will be approved by the Debtors, prior to purchase,
         in accordance with these Sale Guidelines.

6.       The Debtors shall be permitted to utilize sign-walkers, display, hanging signs, and interior
         banners in connection with the Sales; provided that such sign walkers, display, hanging
         signs, and interior banners shall be professionally produced and hung in a professional
         manner. The Debtors shall not use neon or day-glo on its sign walkers, display, hanging

1
     Capitalized terms used but not defined in these Sale Guidelines have the meanings given to them in the Debtors’
     Motion for Entry of Interim and Final Orders (I) Authorizing and Approving the Conduct of Store Closing Sales,
     with Such Sales to Be Free and Clear of All Liens, Claims, and Encumbrances, and (II) Granting Related Relief.
Case 23-18993-MBK       Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                 Document      Page 59 of 89



      signs, or interior banners. Furthermore, with respect to enclosed mall locations, no exterior
      signs or signs in common areas of a mall shall be used unless otherwise expressly permitted
      in these Sale Guidelines. In addition, the Debtors shall be permitted to utilize exterior
      banners at (a) non-enclosed mall Closing Stores and (b) enclosed mall Closing Stores to
      the extent the entrance to the applicable Closing Store does not require entry into the
      enclosed mall common area; provided, however, that such banners shall be located or hung
      so as to make clear that the Sales are being conducted only at the affected Closing Store,
      and shall not be wider than the storefront of the Closing Store. In addition, the Debtors
      shall be permitted to utilize sign walkers in a safe and professional manner and in
      accordance with the terms of the Order. Nothing contained in these Sale Guidelines shall
      be construed to create or impose upon the Debtors any additional restrictions not contained
      in the applicable lease agreement.

7.    Conspicuous signs shall be posted in the cash register areas of each of the affected Closing
      Stores to effect that “all sales are final.”

8.    Except with respect to the hanging of exterior banners, the Debtors shall not make any
      alterations to the storefront or exterior walls of any Closing Stores, except as authorized by
      the applicable lease.

9.    The Debtors shall not make any alterations to interior or exterior Closing Store lighting,
      except as authorized by the applicable lease. No property of the landlord of a Closing Store
      shall be removed or sold during the Sales. The hanging of exterior banners or in-Closing
      Store signage and banners shall not constitute an alteration to a Closing Store.

10.   The Debtors shall keep Closing Store premises and surrounding areas clear and orderly
      consistent with present practices.

11.   The Debtors and the landlord of any Store are authorized to enter into Side Letters without
      further order of the Court, provided that such agreements do not have a material adverse
      effect on the Debtors or their estates.

12.   The Debtors may advertise the sale of owned Non-Prescription Assets in a manner
      consistent with these Sale Guidelines. The purchasers of any owned Non-Prescription
      Assets sold during the sale shall be permitted to remove the owned Non-Prescription Assets
      either through the back or alternative shipping areas at any time, or through other areas
      after applicable business hours, provided, however, that the foregoing shall not apply to de
      minimis sales of Non-Prescription Assets made whereby the item can be carried out of the
      Closing Store in a shopping bag. For the avoidance of doubt, as of the Sale Termination
      Date, the Debtors may abandon, in place and without further responsibility, any
      Non-Prescription Assets.

13.   At the conclusion of the Sales at each Closing Store, pending assumption or rejection of
      applicable leases, the landlords of the Closing Stores shall have reasonable access to the
      Closing Stores’ premises as set forth in the applicable leases. The Debtors and their agents
      and representatives shall continue to have access to the Closing Stores pending assumption
      or rejection of applicable leases.
Case 23-18993-MBK       Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                 Document      Page 60 of 89



14.   The rights of landlords against Debtors for any damages to a Closing Store shall be reserved
      in accordance with the provisions of the applicable lease.

15.   The Debtors are authorized to conduct and consummate sales and internal transfers of
      Prescription Assets consistent with their historical practices, in accordance with applicable
      law.

16.   If and to the extent that the landlord of any Closing Store affected hereby contends that the
      Debtors are in breach of or default under these Sale Guidelines, such landlord shall email
      or deliver written notice by overnight delivery on the Debtors as follows:

             Rite Aid Corporation
             1200 Intrepid Avenue, 2nd Floor
             Philadelphia, PA 19112
             Attention: Chief Legal Officer

             with copies (which shall not constitute notice) to:

             COLE SCHOTZ P.C.
             Court Plaza North, 25 Main Street
             Hackensack, New Jersey 07601
             Telephone: (201) 489-3000
             Attention: Michael D. Sirota, Esq.
                        Warren A. Usatine, Esq.
                        Felice R. Yudkin, Esq.
                        Seth Van Aalten
             Email:    msirota@coleschotz.com
                        wusatine@coleschotz.com
                        fyudkin@coleschotz.com
                        svanaalten@coleschotz.com

             - and -

             Kirkland & Ellis LLP
             601 Lexington Avenue
             New York, New York 10022
             Attention: Joshua A. Sussberg, P.C.
                        Aparna Yenamandra, P.C.
                        Ross J. Fiedler
                        Zachary R. Manning
             Email:      joshua.sussberg@kirkland.com
                        aparna.yenamandra@kirkland.com
                        ross.fiedler@kirkland.com
                        zach.manning@kirkland.com
Case 23-18993-MBK   Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27   Desc Main
                             Document      Page 61 of 89



                                     Exhibit B

                                Proposed Final Order
Case 23-18993-MBK               Doc 37      Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                          Document      Page 62 of 89


    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)
    KIRKLAND & ELLIS LLP
    KIRKLAND & ELLIS INTERNATIONAL LLP
    Edward O. Sassower, P.C.
    Joshua A. Sussberg, P.C. (pro hac vice pending)
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    svanaalten@coleschotz.com

    Proposed Co-Counsel for Debtors and Debtors in Possession


    In re:                                                             Chapter 11

    RITE AID CORPORATION, et al.,                                      Case No. 23-18993 (MBK)

                                        Debtors. 1                     (Joint Administration Requested)




1
       The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid.
       The location of Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in
       these chapter 11 cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
Case 23-18993-MBK     Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27    Desc Main
                               Document      Page 63 of 89



                              FINAL ORDER
         (I) AUTHORIZING AND APPROVING THE CONDUCT OF STORE
    CLOSING SALES, WITH SUCH SALES TO BE FREE AND CLEAR OF ALL
 LIENS, CLAIMS, AND ENCUMBRANCES, AND (II) GRANTING RELATED RELIEF

The relief set forth on the following pages, numbered three (3) through twenty (20), is
ORDERED.
Case 23-18993-MBK            Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                      Document      Page 64 of 89
(Page | 3)
Debtors:                  RITE AID CORPORATION, et al.
Case No.                  23-18993 (MBK)
Caption of Order:         Final Order (I) Authorizing and Approving the Conduct of Store Closing
                          Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                          Encumbrances, and (II) Granting Related Relief

        Upon the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing and

Approving the Conduct of Store Closing Sales, with Such Sales to Be Free and Clear of All Liens,

Claims, and Encumbrances, and (II) Granting Related Relief (the “Motion”), 2 of the above-

captioned debtors and debtors in possession (collectively, the “Debtors”), for entry of a final order

(this “Final Order”): (a) authorizing and approving the continuation or initiation of store closing

or similar themed sales (the “Initial Store Closings”) at the stores identified on Schedule 1 attached

hereto (collectively, the “Initial Closing Stores”); (b) authorizing and approving the Debtors to

conduct store closings at additional stores (the “Additional Store Closings” and, together with the

Initial Store Closings, the “Store Closings”) at a later date or dates pursuant to the procedures set

forth herein (collectively, the “Additional Closing Stores,” if any, and together with the Initial

Closing Stores, the “Closing Stores”) with such sales to be free and clear of all liens, claims, and

encumbrances (the “Sales”), in accordance with the terms of the store closing sale guidelines

(the “Sale Guidelines”), attached as Schedule 2 hereto; and (c) granting related relief, all as more

fully set forth in the Motion; and upon the First Day Declaration, the Liebman Declaration, and

the Frejka Declaration; and the Court having jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to

the Bankruptcy Court Under Title 11 of the United States District Court for the District of New

Jersey, entered July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this

Court having found that venue of this proceeding and the Motion in this district is proper pursuant




2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Motion.
Case 23-18993-MBK            Doc 37      Filed 10/16/23 Entered 10/16/23 03:31:27                       Desc Main
                                       Document      Page 65 of 89
(Page | 4)
Debtors:                  RITE AID CORPORATION, et al.
Case No.                  23-18993 (MBK)
Caption of Order:         Final Order (I) Authorizing and Approving the Conduct of Store Closing
                          Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                          Encumbrances, and (II) Granting Related Relief

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the Debtors’ notice of the Motion

was appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein; and

upon all of the proceedings had before the Court and after due deliberation and sufficient cause

appearing therefor IT IS HEREBY FOUND AND DETERMINED THAT: 1

        A.       The Debtors have advanced sound business reasons for adopting the Sale

Guidelines as set forth in the Motion and at the Hearing.

        B.       The Sale Guidelines, which are attached hereto as Schedule 2, are reasonable and

appropriate, and the conduct of the Sales in accordance with the Sale Guidelines will provide an

efficient means for the Debtors to dispose of the Closing Store Assets, and are in the best interest

of the Debtors’ estates.

        C.       The relief set forth herein is necessary to avoid immediate and irreparable harm to

the Debtors and their estates and the Debtors have demonstrated good, sufficient and sound

business purposes and justifications for the relief approved herein.

        D.       The Store Closings and Sales are in the best interest of the Debtors’ estates.

        E.       The Dispute Resolution Procedures are fair and reasonable and comply with

applicable law.



1
    Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings of
    fact where appropriate. See Fed. R. Bankr. P. 7052.
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 66 of 89
(Page | 5)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Final Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

       F.      The entry of this Final Order is in the best interests of the Debtors and their estates,

creditors, and interest holders and all other parties in interest herein; and now therefore it is

HEREBY ORDERED THAT:

       1.      The Motion is GRANTED on a final basis as set forth herein.

       2.      To the extent any conflict between this Final Order and the Sale Guidelines, the

terms of this Final Order shall control.

I.     Authority to Engage in Sales and Conduct Store Closings.

       3.      The Debtors are authorized, on an interim basis pending the Final Hearing, pursuant

to sections 105(a) and 363(b)(1) of the Bankruptcy Code, to continue, commence, and conduct

Sales and Store Closings at the Closing Stores in accordance with this Interim Order and the Sale

Guidelines, as may be modified by any Side Letters (as defined below) between the Debtors and

the landlords at the Closing Stores.

       4.      The Sale Guidelines are approved in their entirety on a final basis.

       5.      The Debtors are authorized to discontinue operations at the Closing Stores in

accordance with this Final Order and the Sale Guidelines.

       6.      All entities that are presently in possession of some or all of the Closing Store

Assets in which the Debtors hold an interest that is or may be subject to this Final Order hereby

are directed to surrender possession of such Closing Store Assets to the Debtors.

       7.      Neither the Debtors nor any of their officers, employees, or agents shall be required

to obtain the approval of any third party, including (without limitation) any Governmental Unit (as
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 67 of 89
(Page | 6)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Final Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

defined under section 101(27) of the Bankruptcy Code) or landlord, to conduct the Sales and Store

Closings and to take the related actions authorized herein.

       8.      The Debtors are authorized to conduct Sales and internal transfers of Prescription

Assets consistent with their historical practice, in accordance with applicable law. Each purchaser

of Prescription Assets sold pursuant to this Final Order shall be deemed a good faith purchaser

within the meaning of section 363(m) of the Bankruptcy Code and, as such, shall be entitled all of

the protections afforded by such provision.

II.    Conduct of the Sales.

       9.      All newspapers and other advertising media in which the Sales and Store Closings

may be advertised and all landlords and subtenants are directed to accept this Final Order as

binding authority so as to authorize the Debtors to conduct the Sales and Store Closings, including,

without limitation, to conduct and advertise the sale of Non-Prescription Assets in the manner

contemplated by and in accordance with this Final Order and the Sale Guidelines.

       10.     Subject to the Dispute Resolution Procedures provided for in this Interim Order,

the Debtors are hereby authorized to take such actions as may be necessary and appropriate to

conduct the Sales and Store Closings without necessity of further order of this Court as provided

in the Sale Guidelines (subject to any Side Letters), including, but not limited to, advertising a Sale

of Non-Prescription Assets as a “store closing sale”, “sale on everything”, “everything must go”,

“going-out-of-business”, or similar-themed sales as contemplated in the Sale Guidelines through

the posting of signs (including the use of exterior banners at non-enclosed mall closing locations,

and at enclosed mall closing locations to the extent the applicable closing location entrance does
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                  Document      Page 68 of 89
(Page | 7)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Final Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

not require entry into the enclosed mall common area), use of signwalkers, A-frames, and other

street signage, as contemplated in the Sale Guidelines.

       11.     Except as expressly provided in the Sale Guidelines, the sale of the Closing Store

Assets shall be conducted by the Debtors, notwithstanding any Contractual Restrictions to the

contrary. Any and all Contractual Restrictions shall not be enforceable in conjunction with the

Store Closings and the Sales. Any breach of any such provisions in these chapter 11 cases in

conjunction with the Store Closings or the Sales shall not constitute a default under a lease or

provide a basis to terminate the lease; provided that the Store Closings and Sales are conducted in

accordance with the terms of this Final Order, any Side Letter, and the Sale Guidelines. The

Debtors and landlords of the Closing Stores are authorized to enter into agreements (“Side

Letters”) between themselves modifying the Sale Guidelines without further order of the Court,

and such Side Letters shall be binding as among the Debtors and any such landlords, provided that

nothing in such Side Letters affects the provisions of this Final Order. In the event of any conflict

between the Sale Guidelines, any Side Letter, and this Final Order, subject to paragraph 33 hereof,

the terms of such Side Letter shall control. Copies of any Side Letters will be provided to the U.S.

Trustee, the DIP Agent, Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285 Avenue of the

Americas,     New      York,     New     York     10019      (Attn:    Andrew      N.    Rosenberg

(arosenberg@paulweiss.com); Brian S. Hermann (bhermann@paulweiss.com); and Christopher

Hopkins (chopkins@paulweiss.com) and Fox Rothschild LLP, 49 Market Street, Morristown, NJ

07960 (Attn: Howard A. Cohen (hcohen@foxrothschild.com); Joseph J. DiPasquale

(jdipasquale@foxrothschild.com) and Michael R. Herz (mherz@foxrothschild.com), counsel for
Case 23-18993-MBK          Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27               Desc Main
                                    Document      Page 69 of 89
(Page | 8)
Debtors:                RITE AID CORPORATION, et al.
Case No.                23-18993 (MBK)
Caption of Order:       Final Order (I) Authorizing and Approving the Conduct of Store Closing
                        Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                        Encumbrances, and (II) Granting Related Relief

the Ad Hoc Secured Noteholder Group; and/or any statutory committee of unsecured creditors at

least two (2) business days’ prior to execution of any Side Letters (which period may be shortened

or waived if so consented to by each of the DIP Agent, Required Consenting Noteholders (as

defined in the Restructuring Support Agreement), and any statutory committee of unsecured

creditors).

        12.     Except as expressly provided for herein or in the Sale Guidelines, no person or

entity, including, but not limited to, any landlord, subtenant, licensor, service providers, utilities,

or creditors, shall take any action to directly or indirectly prevent, interfere with, or otherwise

hinder consummation of the Store Closings, the Sales, or the sale of the Closing Store Assets, or

the advertising and promotion (including the posting of signs and exterior banners or the use of

sign-walkers) of such sales, as applicable, and all such parties and persons and entities of every

nature and description, including, but not limited to, any landlord, subtenant, licensor, service

providers, utilities, and creditors and all those acting for or on behalf of such parties, are prohibited

and enjoined from (a) interfering in any way with, obstructing, or otherwise impeding, the conduct

of the Store Closings and the Sales, and/or (b) instituting any action or proceeding in any court

(other than in this Court) or administrative body seeking an order or judgment against, among

others, the Debtors or the landlords at the closing locations that might in any way directly or

indirectly obstruct or otherwise interfere with or adversely affect the conduct of the Store Closings,

the Sales, or the sale of the Closing Store Assets, or other liquidation sales at any Closing Stores

and/or seek to recover damages for breach(es) of covenants or provisions in any lease, sublease,

license, or contract based upon any relief authorized herein.
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                   Document      Page 70 of 89
(Page | 9)
Debtors:                RITE AID CORPORATION, et al.
Case No.                23-18993 (MBK)
Caption of Order:       Final Order (I) Authorizing and Approving the Conduct of Store Closing
                        Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                        Encumbrances, and (II) Granting Related Relief

        13.     The Debtors are directed to remit all taxes arising from the Sales to the applicable

Governmental Units as and when due, provided that, in the case of a bona fide dispute, the Debtors

are only directed to pay such taxes upon the resolution of such dispute, if and to the extent that the

dispute is decided in favor of the applicable Governmental Unit. For the avoidance of doubt, sales

taxes collected and held in trust by the Debtors shall not be used to pay any creditor or any other

party, other than the applicable Governmental Unit for which the sales taxes are collected. This

Final Order does not enjoin, suspend, or restrain the assessment, levy, or collection of any tax

under state or federal law, and does not constitute a declaratory judgment with respect to any

party’s liability for taxes under state or federal law.

        14.     Pursuant to section 363(f) of the Bankruptcy Code, the Debtors are authorized to

sell the Closing Store Assets, and all sales of Closing Store Assets shall be free and clear of any

and all liens, claims, encumbrances, and other interests; provided, however, that any such liens,

claims, encumbrances, and other interests shall attach to the proceeds of the sale of the Closing

Store Assets with the same validity, in the amount, with the same priority as, and to the same extent

that any such liens, claims, and encumbrances have with respect to the Closing Store Assets,

subject to any claims and defenses that the Debtors may possess with respect thereto.

        15.     The Debtors are authorized and empowered to transfer Closing Store Assets among

and into the Debtors’ store locations in accordance with the Sale Guidelines, as applicable. The

Debtors are authorized to sell the Debtors’ Non-Prescription Assets and abandon the same, in each

case, as provided for and in accordance with the terms of the Sale Guidelines.
Case 23-18993-MBK          Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27           Desc Main
                                    Document      Page 71 of 89
(Page | 10)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Final Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

         16.   Notwithstanding anything to the contrary in this Interim Order, the Debtors shall

not sell or abandon any property that the Debtors know is not owned by the Debtors; provided that

the Debtors will either (a) provide for the return of such property to the Debtors’ headquarters or

(b) return such property to the applicable lessor, or other owner of the property; provided, however,

that the Debtors may abandon property owned by the Landlord at the applicable Closing Store.

         17.   Neither the Sale Guidelines nor this Final Order authorize the Debtors to transfer

or sell to any other party the personal identifying information (which means information that alone

or in conjunction with other information identifies an individual, including but not limited to an

individual’s first name (or initial) and last name, physical address, electronic address, telephone

number, social security number, date of birth, government-issued identification number, account

number and credit or debit card number) (“PII”) of any customers unless such sale or transfer is

permitted by the Debtors’ privacy policy and applicable state or federal privacy and/or identity

theft prevention laws and rules (collectively, the “Applicable Privacy Laws”). The foregoing shall

not limit the use of the Debtors’ customer lists and mailing lists solely for purposes of advertising

and promoting the Sales.

         18.   Appointment of a consumer privacy ombudsman is not required with respect to the

Sales.

         19.   The Debtors shall remove or cause to be removed any confidential and/or PII in

any of the Debtors hardware, software, computers or cash registers or similar equipment which are

to be sold or abandoned so as to render the PII unreadable or undecipherable.
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                   Document      Page 72 of 89
(Page | 11)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Final Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

       20.     Nothing herein shall limit the Debtors’ right to suspend, postpone, or discontinue a

Sale at a Closing Store on notice to affected parties.

       21.     Nothing herein is intended to affect any rights of any applicable Government Unit

to enforce any law affecting the Debtors’ conduct of any store closing sale that occurred before

the Petition Date.

III.   Procedures Relating to Additional Closing Stores.

       22.     To the extent that the Debtors seek to conduct Sales at any Additional Closing

Stores, the Sale Guidelines and this Final Order shall apply to each such Additional Closing Store

(and the corresponding Additional Store Closing(s)).

       23.     Except with respect to Sales of Prescription Assets, before conducting the Sales at

any Additional Closing Store, the Debtors will file with the Court a list of each such Additional

Closing Store (each, an “Additional Closing Store List”) and serve a notice of their intent to conduct

the applicable Sales at the Additional Closing Store on the Dispute Notice Parties, including

applicable landlords (collectively, the “Additional Closing Store Landlords”), and other interested

parties by email (to the extent available to the Debtors) or overnight mail within five business days

of filing the Additional Closing Store List or as soon as reasonably practicable thereafter. With

respect to the Dispute Notice Parties, including the Additional Closing Store Landlords, the

Debtors will mail, if applicable, such notice to the notice address set forth in the lease for such

Additional Closing Store (or at the last known address available to the Debtors).

       24.     The relevant Additional Closing Store Landlords and any other interested parties

shall have ten days after service of the applicable Additional Closing Store List to object to the
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 73 of 89
(Page | 12)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Final Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

application of this Final Order to the Additional Closing Store(s) included in such Additional

Closing Store List. If no timely objections are filed with respect to the application of this Final

Order to an Additional Closing Store, the Debtors shall be authorized to proceed with conducting

the Sales at the Additional Closing Stores (and any corresponding Additional Store Closing(s)) in

accordance with this Final Order and the Sale Guidelines. If any objections are filed with respect

to the application of this Final Order to an Additional Closing Store and such objections are not

resolved, the objections and the application of this Final Order to the Additional Closing Store will

be considered by the Court at the next regularly scheduled omnibus hearing, subject to the rights

of any party to seek relief on an emergency basis on shortened notice, to the extent necessary.

IV.    Dispute Resolution Procedures with Governmental Units.

       25.     Nothing in this Final Order, the Sale Guidelines, or any Side Letter releases,

nullifies, or enjoins the enforcement of any liability to a Governmental Unit under environmental

laws or regulations (or any associated liabilities for penalties, damages, cost recovery, or injunctive

relief) to which any entity would be subject as the owner, lessor, lessee, or operator of the property

after the date of entry of this Final Order. Nothing contained in this Final Order, the Sale

Guidelines, or any Side Letter shall in any way: (a) diminish the obligation of any entity to comply

with environmental laws; or (b) diminish the obligations of the Debtors to comply with

environmental laws consistent with their rights and obligations as debtors in possession under the

Bankruptcy Code. The Store Closings and the Sales shall not be exempt from laws of general

applicability, including, without limitation, public health and safety, criminal, tax, (including, but

not limited to, the collection of sales taxes), labor, employment, environmental, antitrust, fair
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                   Document      Page 74 of 89
(Page | 13)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Final Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

competition, traffic and consumer protection laws, including consumer laws regulating deceptive

practices and false advertising, consumer protection, the sale of gift certificates, layaway

programs, return of goods, express or implied warranties of goods, and “weights and measures”

regulation and monitoring (collectively, “General Laws”). Nothing in this Final Order, the Sale

Guidelines, or any Side Letter shall alter or affect obligations to comply with all applicable federal

safety laws and regulations. Nothing in this Final Order shall be deemed to bar any Governmental

Unit (as such term is defined in section 101(27) of the Bankruptcy Code) from enforcing General

Laws in the applicable non-bankruptcy forum, subject to the Debtors’ rights to assert in that forum

or before this Court, that any such laws are not in fact General Laws or that such enforcement is

impermissible under the Bankruptcy Code or this Final Order.            Notwithstanding any other

provision in this Final Order, no party waives any rights to argue any position with respect to

whether the conduct was in compliance with this Final Order and/or any applicable law, or that

enforcement of such applicable law is preempted by the Bankruptcy Code. Nothing in this Final

Order shall be deemed to have made any rulings on any such issues.

       26.     To the extent that the sale of Closing Store Assets is subject to any Liquidation Sale

Laws, the following provisions of this paragraph 26 shall apply and control over any Side Letters:

       i.      Provided that the Sales are conducted in accordance with this Final Order and the
               Sale Guidelines, the Debtors and the Debtors’ landlords shall be deemed to be in
               compliance with any requirements of all county, parish, municipal, or other local
               government (collectively, “Local”) and state Liquidation Sale Laws that would
               otherwise apply to the Store Closings or the Sales; provided, that the term
               “Liquidation Sale Laws” shall not include any public health or safety laws of any
               state (collectively, “Safety Laws”), and the Debtors shall continue to be required to
               comply, as applicable, with such Safety Laws and General Laws, subject to any
               applicable provision of the Bankruptcy Code and federal law, and nothing in this
               Final Order shall be deemed to bar Governmental Units (as defined in section
Case 23-18993-MBK       Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                 Document      Page 75 of 89
(Page | 14)
Debtors:             RITE AID CORPORATION, et al.
Case No.             23-18993 (MBK)
Caption of Order:    Final Order (I) Authorizing and Approving the Conduct of Store Closing
                     Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                     Encumbrances, and (II) Granting Related Relief

              101(27) of the Bankruptcy Code) or public officials from enforcing Safety Laws or
              General Laws.

       ii.    Within five business days after entry of this Final Order, or as soon as reasonably
              practicable thereafter, the Debtors will serve by first-class mail copies of this Final
              Order and the Sale Guidelines on the following: (a) the Attorney General’s office
              for each state where the Sales are being held; (b) the Board of Pharmacy’s office
              for each state where a Closing Store is located; (c) the county consumer protection
              agency or similar agency for each county where the Sales are being held; (d) the
              division of consumer protection for each state where the Sales are being held;
              (e) the landlords for the Closing Store; and (f) any subtenants (if any) under the
              leases with respect to the Closing Stores (collectively, the “Dispute Notice
              Parties”).

       iii.   With respect to any Additional Closing Stores, within five business days after filing
              any Additional Closing Store List (as defined below) with the Court, or as soon as
              reasonably practicable thereafter, the Debtors will serve copies of this Final Order
              and the Sale Guidelines on the applicable Dispute Notice Parties.

       iv.    To the extent that there is a dispute arising from or relating to the Sales, this Final
              Order, or the Sale Guidelines, which dispute relates to any Liquidation Sale Laws
              (a “Reserved Dispute”), the Court shall retain exclusive jurisdiction to resolve the
              Reserved Dispute. Within ten days following entry of this Final Order, or service
              of an Additional Closing Store List, any Governmental Unit may assert that a
              Reserved Dispute exists by serving a notice (the “Dispute Notice”) explaining the
              nature of the dispute on: (a) Kirkland & Ellis LLP, 601 Lexington Avenue, New
              York, New York 10022, Attn: Joshua A. Sussberg, P.C., Aparna Yenamandra,
              P.C.; Ross J. Fiedler, and Zachary R. Manning; (b) Cole Schotz, P.C., Court Plaza
              North, 25 Main Street, Hackensack, New Jersey 07601, Attn: Michael D. Sirota,
              Warren A. Usatine, Felice R. Yudkin, and Seth Van Aalten; (c) Paul, Weiss,
              Rifkind, Wharton & Garrison LLP, 1285 Avenue of the Americas, New York, New
              York 10019 (Attn: Andrew N. Rosenberg (arosenberg@paulweiss.com); Brian S.
              Hermann        (bhermann@paulweiss.com);          and       Christopher       Hopkins
              (chopkins@paulweiss.com) and Fox Rothschild LLP, 49 Market Street,
              Morristown, NJ 07960 (Attn: Howard A. Cohen (hcohen@foxrothschild.com);
              Joseph J. DiPasquale (jdipasquale@foxrothschild.com) and Michael R. Herz
              (mherz@foxrothschild.com), counsel for the Ad Hoc Secured Noteholder Group;
              (d) the United States Trustee for the District of New Jersey, One Newark Center,
              Suite 2100, Newark, NJ 07102, Attn: Jeffrey M. Sponder and Lauren Bielskie;
              (e) Choate, Hall & Stewart LLP, Two International Place, Boston, MA 02110
              (Attn: John F. Ventola (jventola@choate.com), Jonathan D. Marshall
              (jmarshall@choate.com) and Mark D. Silva (msilva@choate.com) and Greenberg
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                  Document      Page 76 of 89
(Page | 15)
Debtors:              RITE AID CORPORATION, et al.
Case No.              23-18993 (MBK)
Caption of Order:     Final Order (I) Authorizing and Approving the Conduct of Store Closing
                      Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                      Encumbrances, and (II) Granting Related Relief

               Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park NJ 07932 (Attn: Alan
               J. Brody (brodya@gtlaw.com), Oscar N. Pinkas (pinkaso@gtlaw.com));
               (f) counsel to any statutory committee appointed in these chapter 11 cases; and
               (g) the affected landlord or its known counsel. If the Debtors and the Governmental
               Unit are unable to resolve the Reserved Dispute within fifteen days after service of
               the Dispute Notice, the Governmental Unit may file a motion with the Court
               requesting that the Court resolve the Reserved Dispute (a “Dispute Resolution
               Motion”).

       v.      If a Dispute Resolution Motion is filed, nothing in this Final Order shall preclude
               the Debtors, a landlord, or any other interested party from asserting (a) that the
               provisions of any Liquidation Sale Laws are preempted by the Bankruptcy Code,
               or (b) that neither the terms of this Final Order, nor the conduct of the Debtors
               pursuant to this Final Order, violates such Liquidation Sale Laws. The filing of a
               Dispute Resolution Motion as set forth herein shall not be deemed to affect the
               finality of this Final Order or to limit or interfere with the Debtors’ ability to
               conduct or to continue to conduct the Sales pursuant to this Final Order absent
               further order of the Court. Upon the entry of this Final Order, the Court expressly
               authorizes the Debtors to conduct the Sales pursuant to the terms of the Final Order
               and the Sale Guidelines (as may be modified by Side Letters) and to take all actions
               reasonably related thereto or arising in connection therewith. The Governmental
               Unit will be entitled to assert any jurisdictional, procedural, or substantive
               arguments it wishes with respect to the requirements of its Liquidation Sale Laws
               or the lack of any preemption of such Liquidation Sale Laws by the Bankruptcy
               Code. Nothing in this Final Order will constitute a ruling with respect to any issues
               to be raised in any Dispute Resolution Motion.

       vi.     If, at any time, a dispute arises between the Debtors and a Governmental Unit as to
               whether a particular law is a Liquidation Sale Law, and subject to any provisions
               contained in this Final Order related to the Liquidation Sale Laws, then any party
               to that dispute may utilize the provisions of subparagraphs (iv) and (v) above by
               serving a notice to the other party and proceeding thereunder in accordance with
               those paragraphs. Any determination with respect to whether a particular law is a
               Liquidation Sale Law shall be made de novo.

       27.     Subject to paragraphs 25 and 26 above, each and every federal, state, or local

agency, department, or Governmental Unit with regulatory authority over the Store Closings or

the Sales and all newspapers and other advertising media in which the Sales are advertised shall

consider this Final Order as binding authority that no further approval, license, or permit of any
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27              Desc Main
                                   Document      Page 77 of 89
(Page | 16)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Final Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

Governmental Unit shall be required, nor shall the Debtors be required to post any bond, to conduct

the Sales.

       28.     Provided that the Store Closings and the Sales are conducted in accordance with the

terms of this Final Order and the Sale Guidelines (as may be modified by Side Letters) and in light

of the provisions in the laws that exempt court-ordered sales from their provisions, the Debtors

shall be presumed to be in compliance with any Liquidation Sale Laws and are authorized to

conduct the Store Closings and the Sales in accordance with the terms of this Final Order and the

Sale Guidelines (as may be modified by Side Letters) without the necessity of further showing

compliance with any such Liquidation Sale Laws.

       29.     Nothing in this Final Order, the Sale Guidelines, or any Side Letter releases,

nullifies, or enjoins the enforcement of any liability to a Governmental Unit under environmental

laws or regulations (or any associated liabilities for penalties, damages, cost recovery, or injunctive

relief) to which any entity would be subject as the owner, lessor, lessee, or operator of the property

after the date of entry of this Final Order. Nothing contained in this Final Order, the Sale

Guidelines, or any Side Letter shall in any way: (a) diminish the obligation of any entity to comply

with environmental laws; or (b) diminish the obligations of the Debtors to comply with

environmental laws consistent with their rights and obligations as debtors in possession under the

Bankruptcy Code.

V.     Other Provisions.

       30.     To the extent the Debtors are subject to any Fast Pay Laws in connection with the

Store Closings, the Debtors shall be presumed to be in compliance with such laws to the extent, in
Case 23-18993-MBK        Doc 37      Filed 10/16/23 Entered 10/16/23 03:31:27           Desc Main
                                   Document      Page 78 of 89
(Page | 17)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Final Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

applicable states, such payroll payments are made by the later of: (a) the Debtors’ next regularly

scheduled payroll; and (b) seven calendar days following the termination date of the relevant

employee, and in all such cases consistent with, and subject to, any previous orders of this Court

regarding payment of same.

       31.     Notwithstanding the relief granted in this Final Order and any actions taken

pursuant to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the

validity of any particular claim against the Debtors; (b) a waiver of the Debtors’ rights to dispute

any particular claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication or admission that any particular claim is of a type specified or defined in this

Final Order or the Motion; (e) an authorization to assume any agreement, contract, or lease,

pursuant to section 365 of the Bankruptcy Code; (f) a waiver or limitation of the Debtors’, or any

other party in interest’s, rights under the Bankruptcy Code or any other applicable law; or (g) a

concession by the Debtors that any liens (contractual, common law, statutory, or otherwise) that

may be satisfied pursuant to the Motion or this Final Order are valid, and the rights of all parties

are expressly reserved to contest the extent, validity, or perfection or seek avoidance of all such

liens. Any payment made pursuant to this Final Order is not intended and should not be construed

as an admission as to the validity of any particular claim or a waiver of the Debtors’ rights to

subsequently dispute such claim.

       32.     Notwithstanding anything to the contrary contained in the Motion or this Final

Order, any payment to be made, obligation incurred, or relief or authorization granted hereunder

shall not be inconsistent with, and shall be subject to and in compliance with, the requirements
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                  Document      Page 79 of 89
(Page | 18)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Final Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

imposed on the Debtors under the terms of each Final and final order entered by the Court in

respect of the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors

To (A) Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Liens and

Superpriority Administrative Expense Claims, (III) Granting Adequate Protection, (IV) Modifying

the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related Relief, filed

substantially contemporaneously herewith (such orders, the “DIP Orders”), including compliance

with any budget or cash flow forecast in connection therewith and any other terms and conditions

thereof. Nothing herein is intended to modify, alter, or waive, in any way, any terms, provisions,

requirements, or restrictions of the DIP Orders and to the extent of any conflict or inconsistency

between this Final Order and the DIP Orders, the DIP Orders shall govern and control.

       33.     On a confidential basis and upon the written (including email) request of the U.S.

Trustee (which request has been made), any official committee of unsecured creditors appointed

in these chapter 11 cases, or the advisors to the Ad Hoc Secured Noteholder Group, the Debtors

shall provide copies of periodic reports on a monthly basis concerning the Sales and Store Closings

that are prepared by the Debtors or their professionals; provided, however, that the foregoing shall

not require the Debtors or their professionals to prepare or undertake to prepare any additional or

new reports other than the weekly Sales and Store Closing reports.

       34.     The requirements set forth in Bankruptcy Rule 6003(b) are satisfied by the contents

of the Motion or otherwise deemed waived.

       35.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Final Order in accordance with the Motion.
Case 23-18993-MBK         Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                   Document      Page 80 of 89
(Page | 19)
Debtors:               RITE AID CORPORATION, et al.
Case No.               23-18993 (MBK)
Caption of Order:      Final Order (I) Authorizing and Approving the Conduct of Store Closing
                       Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                       Encumbrances, and (II) Granting Related Relief

       36.     Notwithstanding any Bankruptcy Rule to the contrary, this Final Order shall be

effective and enforceable immediately upon entry hereof.

       37.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       38.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

       39.     The Debtors shall serve by regular mail a copy of this Final Order and the Motion

on all parties required to receive such service pursuant to Local Rule 9013-5(f) within two business

days after the entry of this Final Order.

       40.     Any party may move for modification of this Final Order in accordance with Local

Rule 9013-5(e).

       41.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Final Order.

       42.     This Court shall retain jurisdiction with regard to all issues or disputes relating to

this Final Order, including, but not limited to: (a) any claim or issue relating to any efforts by any

party or person to prohibit, restrict or in any way limit banner and sign-walker advertising,

including with respect to any allegations that such advertising is not being conducted in a safe,

professional, and non-deceptive manner; (b) any claim of the Debtors and/or the landlords for

protection from interference with the Store Closings or Sales; (c) any other disputes related to the
Case 23-18993-MBK       Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27           Desc Main
                                 Document      Page 81 of 89
(Page | 20)
Debtors:              RITE AID CORPORATION, et al.
Case No.              23-18993 (MBK)
Caption of Order:     Final Order (I) Authorizing and Approving the Conduct of Store Closing
                      Sales, with Such Sales to Be Free and Clear of All Liens, Claims, and
                      Encumbrances, and (II) Granting Related Relief

Store Closings or Sales; and (d) protect the Debtors against any assertions of any liens, claims,

encumbrances, and other interests. No such parties or person shall take any action in respect of

the Debtors, the landlords, the Store Closings, or the Sales until this Court has resolved such

dispute. This Court shall hear the request of such parties or persons with respect to any such

disputes on an expedited basis, as may be appropriate under the circumstances.
Case 23-18993-MBK   Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27   Desc Main
                             Document      Page 82 of 89



                                     Schedule 1

                                Initial Closing Stores
Case 23-18993-MBK          Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27         Desc Main
                                    Document      Page 83 of 89

No.        Store No.               Property Address             City           State       Zip Code
       1            213 2715 PARADE STREET              ERIE              PA            16504
       2            225 5612 N. FIFTH STREET            PHILADELPHIA      PA            19120
       3            365 728 EAST PULASKI HIGHWAY        ELKTON            MD            21921
       4            374 5624 BALTIMORE NATIONAL PK      BALTIMORE         MD            21228
       5            385 5804 RITCHIE HIGHWAY            BALTIMORE         MD            21225
       6            443 350 MAIN STREET                 PENNSBURG         PA            18073
       7            553 4011 COTTMAN AVENUE             PHILADELPHIA      PA            19135
       8            558 1441 OLD YORK ROAD              ABINGTON          PA            19001
       9            761 2887 HARLEM ROAD                CHEEKTOWAGA       NY            14225
      10            803 300 MARKET STREET               JOHNSTOWN         PA            15901
      11            850 8716 NEW FALLS ROAD             LEVITTOWN         PA            19054
      12            852 11750 BUSTLETON AVENUE          PHILADELPHIA      PA            19116
      13            857 169 WEST LANCASTER AVENUE       ARDMORE           PA            19003
      14          1070 420 DANIEL WEBSTER HIGHWAY       MERRIMACK         NH            03054
      15          1288 1315 EAST WASHINGTON LANE        PHILADELPHIA      PA            19138
      16          1524 924 WEST MAIN STREET             FREMONT           MI            49412
      17          1527 507 N LAFAYETTE STREET           GREENVILLE        MI            48838
      18          1530 715 SOUTH CLINTON STREET         GRAND LEDGE       MI            48837
      19          1685 801 WYOMING AVENUE STE 9         WEST PITTSTON     PA            18643
      20          1704 657 HEACOCK ROAD                 YARDLEY           PA            19067
      21          1767 2801 W. DAUPHIN STREET           PHILADELPHIA      PA            19132
      22          1796 4057 ASBURY AVE STE 8            TINTON FALLS      NJ            07753
      23          1854 1709 LIBERTY STREET              ERIE              PA            16502
      24          1859 7501 RITCHIE HIGHWAY             GLEN BURNIE       MD            21061
      25          1955 674 ROUTE 196, STE 14            TOBYHANNA         PA            18466
      26          1970 431 HALEDON AVENUE               HALEDON           NJ            07508
      27          1977 35 MILL ROAD                     IRVINGTON         NJ            07111
      28          2264 2722 WEST 9TH STREET             CHESTER           PA            19013
      29          2390 3129 LINCOLN WAY EAST            MASSILLON         OH            44646
      30          2442 950 EAST BALTIMORE PIKE          YEADON            PA            19050
      31          2521 1636 ROUTE 38 SUITE 49           LUMBERTON         NJ            08048
      32          2629 120 SOUTH MAIN STREET            NEW CARLISLE      OH            45344
      33          2709 8235 STENTON AVENUE              PHILADELPHIA      PA            19150
      34          3084 146 WOODMAN DRIVE                DAYTON            OH            45431
      35          3117 2701 MARKET STREET               YOUNGSTOWN        OH            44507
      36          3247 401 WEST NORTH STREET            SPRINGFIELD       OH            45504
      37          3377 7941 OXFORD AVENUE               PHILADELPHIA      PA            19111
      38          3457 136 NORTH 63RD STREET            PHILADELPHIA      PA            19139
      39          3477 773 HAMILTON STREET              SOMERSET          NJ            08873
      40          3681 5440 LANSDOWNE AVENUE            PHILADELPHIA      PA            19131
      41          3781 7967 BALTIMORE ANNAPOLIS BLVD    GLEN BURNIE       MD            21060
      42          3880 15250 24 MILE ROAD               MACOMB            MI            48042
      43          3958 2002 AVENUE U                    BROOKLYN          NY            11229
      44          4045 1434 S BLACK HORSE PIKE          WILLIAMSTOWN      NJ            08094
      45          4234 102 NORTH CENTERVILLE ROAD       STURGIS           MI            49091
      46          4300 47300 PONTIAC TRAIL              WIXOM             MI            48393
      47          4318 35250 SOUTH GRATIOT AVENUE       CLINTON TWP.      MI            48035
      48          4321 51037 VAN DYKE AVENUE            SHELBY TOWNSHIP   MI            48316
      49          4350 3100 EAST MICHIGAN AVENUE        JACKSON           MI            49202
      50          4366 9155 TELEGRAPH ROAD              TAYLOR            MI            48180
      51          4407 1243 U.S. 31 SOUTH               MANISTEE          MI            49660
      52          4466 29447 FORD ROAD                  GARDEN CITY       MI            48135



                                               1 of 3
Case 23-18993-MBK      Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27          Desc Main
                                Document      Page 84 of 89

No.     Store No.             Property Address              City            State       Zip Code
   53          4504 2838 EAST COURT STREET          FLINT              MI            48506
   54          4526 1900 EAST 8 MILE ROAD           DETROIT            MI            48234
   55          4537 36485 GARFIELD ROAD             CLINTON TWP.       MI            48035
   56          4548 25922 MIDDLEBELT ROAD           FARMINGTON HILLS   MI            48336
   57          4552 2 WHITNEY AVENUE                FLORAL PARK        NY            11001
   58          4577 109 NORTH WHITTEMORE STREET     ST. JOHNS          MI            48879
   59          4616 208 EAST CENTRAL AVENUE         TITUSVILLE         PA            16354
   60          4706 833 NORTH BATTLEFIELD BLVD      CHESAPEAKE         VA            23320
   61          4761 1124 NORTH BALLENGER HWY.       FLINT              MI            48504
   62          4767 230 SOUTH MAIN STREET           BELLEFONTAINE      OH            43311
   63          4770 2701 SOUTH CEDAR STREET         LANSING            MI            48910
   64          4868 71-18 KISSENA BOULEVARD         FLUSHING           NY            11367
   65          4981 3131 HEMPSTEAD TURNPIKE         LEVITTOWN          NY            11756
   66          5201 601 SOUTH GRADY WAY,STE.P       RENTON             WA            98057
   67          5204 3202 132ND STREET, S.E.         MILL CREEK         WA            98012
   68          5227 110 SW 148TH STREET             BURIEN             WA            98166
   69          5231 10103 EVERGREEN WAY             EVERETT            WA            98204
   70          5280 8230 MARTIN WAY EAST            LACEY              WA            98516
   71          5347 2440 SE CESAR E CHAVEZ BLVD     PORTLAND           OR            97214
   72          5412 1600 NORTH MAIN STREET          MERIDIAN           ID            83642
   73          5417 5005 WEST OVERLAND ROAD         BOISE              ID            83705
   74          5448 4044 EAGLE ROCK BOULEVARD       LOS ANGELES        CA            90065
   75          5457 4046 SOUTH CENTINELA AVENUE     LOS ANGELES        CA            90066
   76          5466 7859 FIRESTONE BOULEVARD        DOWNEY             CA            90241
   77          5521 4402 ATLANTIC AVENUE            LONG BEACH         CA            90807
   78          5571 935 NORTH HOLLYWOOD WAY         BURBANK            CA            91505
   79          5585 139 NORTH GRAND AVENUE          COVINA             CA            91724
   80          5593 13905 AMAR ROAD                 LA PUENTE          CA            91746
   81          5611 920 EAST VALLEY BOULEVARD       ALHAMBRA           CA            91801
   82          5635 3813 PLAZA DRIVE                OCEANSIDE          CA            92056
   83          5638 1670 MAIN STREET                RAMONA             CA            92065
   84          5657 6505 MISSION GORGE ROAD         SAN DIEGO          CA            92120
   85          5661 8985 MIRA MESA BOULEVARD        SAN DIEGO          CA            92126
   86          5730 25906 NEWPORT ROAD              MENIFEE            CA            92584
   87          5735 24829 DEL PRADO                 DANA POINT         CA            92629
   88          5753 30222 CROWN VALLEY PARKWAY      LAGUNA NIGUEL      CA            92677
   89          5757 19701 YORBA LINDA BOULEVARD     YORBA LINDA        CA            92886
   90          5760 1406 WEST EDINGER AVENUE        SANTA ANA          CA            92704
   91          5772 2738 EAST THOMPSON BLVD.        VENTURA            CA            93003
   92          5780 720 NORTH VENTURA ROAD          OXNARD             CA            93030
   93          5967 20572 HOMESTEAD ROAD            CUPERTINO          CA            95014
   94          5976 2620 EL CAMINO REAL             SANTA CLARA        CA            95051
   95          5979 901 SOQUEL AVENUE               SANTA CRUZ         CA            95062
   96          6001 571 BELLEVUE ROAD               ATWATER            CA            95301
   97          6045 5409 SUNRISE BOULEVARD          CITRUS HEIGHTS     CA            95610
   98          6080 1309 FULTON AVENUE              SACRAMENTO         CA            95825
   99          6213 3029 HARBOR BOULEVARD           COSTA MESA         CA            92626
  100          6288 959 CRENSHAW BOULEVARD          LOS ANGELES        CA            90019
  101          6318 3000 SOUTH ARCHIBALD AVENUE     ONTARIO            CA            91761
  102          6333 15800 IMPERIAL HIGHWAY          LA MIRADA          CA            90638
  103          6521 22201 MERIDIAN AVENUE E         GRAHAM             WA            98338
  104          6717 8509 IRVINE CENTER DRIVE        IRVINE             CA            92618



                                           2 of 3
Case 23-18993-MBK        Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                  Document      Page 85 of 89

No.      Store No.               Property Address               City             State       Zip Code
   105           6769 499 ALVARADO STREET              MONTEREY             CA            93940
   106           6908 9600 15TH AVE SW                 SEATTLE              WA            98106
   107           6915 2518 196TH ST SW                 LYNNWOOD             WA            98036
   108           6920 3620 FACTORIA BLVD SE            BELLEVUE             WA            98006
   109           6927 11919 NE 8TH STREET              BELLEVUE             WA            98005
   110           6952 7370 170TH AVE NE                REDMOND              WA            98052
   111           7827 1080 S WEST END BLVD             QUAKERTOWN           PA            18951
   112          10092 80 EAST MAIN STREET              WEBSTER              MA            01570
   113          10382 289 GREENWOOD AVE.               BETHEL               CT            06801
   114          10415 3 MARSHALL HILL ROAD             WEST MILFORD         NJ            07480
   115          10449 210 BRIDGETON PIKE               MANTUA               NJ            08051
   116          10456 108 SWEDESBORO ROAD SUITE 20     MULLICA HILL         NJ            08062
   117          10505 2370 ROUTE 33                    ROBBINSVILLE         NJ            08691
   118          10514 1726 ROUTE 37 EAST               TOMS RIVER           NJ            08753
   119          10517 86 B LACEY ROAD                  WHITING              NJ            08759
   120          10586 2981 OCEAN AVENUE                BROOKLYN             NY            11235
   121          10619 3199 LONG BEACH ROAD             OCEANSIDE            NY            11572
   122          10620 198 WEST MERRICK ROAD            VALLEY STREAM        NY            11580
   123          10626 836 SUNRISE HIGHWAY              BAY SHORE            NY            11706
   124          10628 2784 SUNRISE HIGHWAY             BELLMORE             NY            11710
   125          10633 901 MERRICK ROAD                 COPIAGUE             NY            11726
   126          10635 577 LARKFIELD ROAD               EAST NORTHPORT       NY            11731
   127          10642 695 EAST JERICHO TURNPIKE        HUNTINGTON STATION   NY            11746
   128          10650 700-43 PATCHOGUE-YAPHANK ROAD    MEDFORD              NY            11763
   129          10655 273 PINE HOLLOW ROAD             OYSTER BAY           NY            11771
   130          10657 397 SUNRISE HIGHWAY              WEST PATCHOGUE       NY            11772
   131          10658 593 OLD TOWN RD.                 PORT JEFF STATION    NY            11776
   132          10663 65 ROUTE 111                     SMITHTOWN            NY            11787
   133          10828 2453 ELMWOOD AVENUE              KENMORE              NY            14217
   134          10868 1567 PENFIELD ROAD               ROCHESTER            NY            14625
   135          10900 700 STEVENSON BLVD.              NEW KENSINGTON       PA            15068
   136          10901 351 BRIGHTON AVENUE              ROCHESTER            PA            15074
   137          10906 5235 LIBRARY ROAD                BETHEL PARK          PA            15102
   138          10908 5990 UNIVERSITY BLVD STE30       MOON TOWNSHIP        PA            15108
   139          10943 2501 SAW MILL RUN BLVD           PITTSBURGH           PA            15234
   140          10949 5410 KEEPORT DRIVE               PITTSBURGH           PA            15236
   141          10967 6090 ROUTE 30                    GREENSBURG           PA            15601
   142          10974 4830 WILLIAM PENN HIGHWAY        EXPORT               PA            15632
   143          10991 1730 WILMINGTON ROAD             NEW CASTLE           PA            16105
   144          11042 2178 W. UNION BLVD.              BETHLEHEM            PA            18018
   145          11053 1628 SOUTH FOURTH STREET         ALLENTOWN            PA            18103
   146          11134 2401 EAST VENANGO STREET         PHILADELPHIA         PA            19134
   147          11135 6327-43 TORRESDALE AVENUE        PHILADELPHIA         PA            19135
   148          11160 200 W. RIDGE AVENUE STE 112      CONSHOHOCKEN         PA            19428
   149          11182 25 CHESTNUT HILL PLAZA           NEWARK               DE            19713
   150          11188 3209 KIRKWOOD HIGHWAY            WILMINGTON           DE            19808
   151          11208 5 BEL AIR SOUTH PKY, SUITE1347   BEL AIR              MD            21015
   152          11255 1458 MOUNT PLEASANT ROAD         CHESAPEAKE           VA            23322
   153          12999 301 EISENHOWER DRIVE             HANOVER              PA            17331
   154          17783 7036 WERTZVILLE ROAD             MECHANICSBURG        PA            17050




                                              3 of 3
Case 23-18993-MBK   Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27   Desc Main
                             Document      Page 86 of 89



                                     Schedule 2

                                   Sale Guidelines
Case 23-18993-MBK             Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27                      Desc Main
                                       Document      Page 87 of 89



                                               Sale Guidelines 1

1.       The Sales shall be conducted so that the Closing Stores in which sales are to occur will
         remain open no longer than during the normal hours of operation or such hours as otherwise
         provided for in the respective leases for the Closing Stores.

2.       The Sales shall be conducted in accordance with applicable state and local “Blue Laws,”
         where applicable, so that no Sale shall be conducted on Sunday unless the Debtors had
         been operating such Closing Store on a Sunday prior to the commencement of the Sales.

3.       On “shopping center” property, the Debtors shall not distribute handbills, leaflets or other
         written materials to customers outside of any Closing Stores’ premises, unless permitted
         by the lease or if distribution is customary in the “shopping center” in which such Closing
         Store is located; provided that the Debtors may solicit customers in the Closing Stores
         themselves. On “shopping center” property, the Debtors shall not use any flashing lights
         or amplified sound to advertise the Sales or solicit customers, except as permitted under
         the applicable lease or agreed to by the landlord.

4.       At the conclusion of the Sale, the Debtors shall vacate the Closing Stores; provided that
         the Debtor may abandon any Non-Prescription Assets not sold in the Sales at the
         conclusion of the Sales (the “Termination Date”), without cost or liability of any kind to
         the Debtors. The Debtors shall notify the Counsel to the DIP Agents, the advisors to the
         Ad Hoc Secured Noteholder Group, and the landlord of its intention to abandon any
         Non-Prescription Assets at least two (2) days prior to the Termination Date. The Debtors
         will have the option to remove the Non-Prescription Assets, at their own cost prior to the
         Termination Date. Any abandoned Non-Prescription Assets left in a Closing Store after a
         lease is rejected shall be deemed abandoned to the landlord having a right to dispose of the
         same as the landlord chooses without any liability whatsoever on the part of the landlord
         to any party and without waiver of any damage claims against the Debtors. For the
         avoidance of doubt, as of the Termination Date, the Debtors may abandon, in place and
         without further responsibility or liability of any kind, any Non-Prescription Assets.

5.       The Debtors may advertise the Sales as “store closing”, “sale on everything”, “everything
         must go”, “everything on sale”, “going-out-of-business” or similar-themed sales. The
         Debtors may also have a “countdown to closing” sign prominently displayed in a manner
         consistent with these Sale Guidelines. All signs, banners, ads and other advertising
         material, promotions, and campaigns will be approved by the Debtors, prior to purchase,
         in accordance with these Sale Guidelines.

6.       The Debtors shall be permitted to utilize sign-walkers, display, hanging signs, and interior
         banners in connection with the Sales; provided that such sign walkers, display, hanging
         signs, and interior banners shall be professionally produced and hung in a professional
         manner. The Debtors shall not use neon or day-glo on its sign walkers, display, hanging

1
     Capitalized terms used but not defined in these Sale Guidelines have the meanings given to them in the Debtors’
     Motion for Entry of Interim and Final Orders (I) Authorizing and Approving the Conduct of Store Closing Sales,
     with Such Sales to Be Free and Clear of All Liens, Claims, and Encumbrances, and (II) Granting Related Relief.
Case 23-18993-MBK       Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27             Desc Main
                                 Document      Page 88 of 89



      signs, or interior banners. Furthermore, with respect to enclosed mall locations, no exterior
      signs or signs in common areas of a mall shall be used unless otherwise expressly permitted
      in these Sale Guidelines. In addition, the Debtors shall be permitted to utilize exterior
      banners at (a) non-enclosed mall Closing Stores and (b) enclosed mall Closing Stores to
      the extent the entrance to the applicable Closing Store does not require entry into the
      enclosed mall common area; provided, however, that such banners shall be located or hung
      so as to make clear that the Sales are being conducted only at the affected Closing Store,
      and shall not be wider than the storefront of the Closing Store. In addition, the Debtors
      shall be permitted to utilize sign walkers in a safe and professional manner and in
      accordance with the terms of the Order. Nothing contained in these Sale Guidelines shall
      be construed to create or impose upon the Debtors any additional restrictions not contained
      in the applicable lease agreement.

7.    Conspicuous signs shall be posted in the cash register areas of each of the affected Closing
      Stores to effect that “all sales are final.”

8.    Except with respect to the hanging of exterior banners, the Debtors shall not make any
      alterations to the storefront or exterior walls of any Closing Stores, except as authorized by
      the applicable lease.

9.    The Debtors shall not make any alterations to interior or exterior Closing Store lighting,
      except as authorized by the applicable lease. No property of the landlord of a Closing Store
      shall be removed or sold during the Sales. The hanging of exterior banners or in-Closing
      Store signage and banners shall not constitute an alteration to a Closing Store.

10.   The Debtors shall keep Closing Store premises and surrounding areas clear and orderly
      consistent with present practices.

11.   The Debtors and the landlord of any Store are authorized to enter into Side Letters without
      further order of the Court, provided that such agreements do not have a material adverse
      effect on the Debtors or their estates.

12.   The Debtors may advertise the sale of owned Non-Prescription Assets in a manner
      consistent with these Sale Guidelines. The purchasers of any owned Non-Prescription
      Assets sold during the sale shall be permitted to remove the owned Non-Prescription Assets
      either through the back or alternative shipping areas at any time, or through other areas
      after applicable business hours, provided, however, that the foregoing shall not apply to de
      minimis sales of Non-Prescription Assets made whereby the item can be carried out of the
      Closing Store in a shopping bag. For the avoidance of doubt, as of the Sale Termination
      Date, the Debtors may abandon, in place and without further responsibility, any
      Non-Prescription Assets.

13.   At the conclusion of the Sales at each Closing Store, pending assumption or rejection of
      applicable leases, the landlords of the Closing Stores shall have reasonable access to the
      Closing Stores’ premises as set forth in the applicable leases. The Debtors and their agents
      and representatives shall continue to have access to the Closing Stores pending assumption
      or rejection of applicable leases.
Case 23-18993-MBK       Doc 37     Filed 10/16/23 Entered 10/16/23 03:31:27            Desc Main
                                 Document      Page 89 of 89



14.   The rights of landlords against Debtors for any damages to a Closing Store shall be reserved
      in accordance with the provisions of the applicable lease.

15.   The Debtors are authorized to conduct and consummate sales and internal transfers of
      Prescription Assets consistent with their historical practices, in accordance with applicable
      law.

16.   If and to the extent that the landlord of any Closing Store affected hereby contends that the
      Debtors are in breach of or default under these Sale Guidelines, such landlord shall email
      or deliver written notice by overnight delivery on the Debtors as follows:

             Rite Aid Corporation
             1200 Intrepid Avenue, 2nd Floor
             Philadelphia, PA 19112
             Attention: Chief Legal Officer

             with copies (which shall not constitute notice) to:

             COLE SCHOTZ P.C.
             Court Plaza North, 25 Main Street
             Hackensack, New Jersey 07601
             Telephone: (201) 489-3000
             Attention: Michael D. Sirota, Esq.
                        Warren A. Usatine, Esq.
                        Felice R. Yudkin, Esq.
                        Seth Van Aalten
             Email:    msirota@coleschotz.com
                        wusatine@coleschotz.com
                        fyudkin@coleschotz.com
                        svanaalten@coleschotz.com

             - and -

             Kirkland & Ellis LLP
             601 Lexington Avenue
             New York, New York 10022
             Attention: Joshua A. Sussberg, P.C.
                        Aparna Yenamandra, P.C.
                        Ross J. Fiedler
                        Zachary R. Manning
             Email:      joshua.sussberg@kirkland.com
                        aparna.yenamandra@kirkland.com
                        ross.fiedler@kirkland.com
                        zach.manning@kirkland.com
